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                      Exhibit 3
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


                                                     Case No. 1:19-cv-07786

 IN RE BAXTER INTERNATIONAL INC.                     District Judge Sara L. Ellis
 SECURITIES LITIGATION
                                                     Magistrate Judge Jeffrey I. Cummings




  DECLARATION OF OWEN F. SULLIVAN REGARDING: (A) MAILING OF THE
  NOTICE AND CLAIM FORM; (B) PUBLICATION OF THE SUMMARY NOTICE;
    AND (C) REPORT ON REQUESTS FOR EXCLUSION RECEIVED TO DATE

I, Owen F. Sullivan, declare and state as follows:

       1.      I am a Project Manager employed by Epiq Class Action & Claims Solutions, Inc.

(“Epiq”). Pursuant to the Court’s April 21, 2021 Minute Order approving Lead Plaintiffs’ motion

for preliminary approval of Settlement (ECF No. 58) and its May 12, 2021 Order Preliminarily

Approving Settlement and Providing for Notice (ECF No. 59) (collectively, the “Preliminary

Approval Order”), Epiq was authorized to act as the Claims Administrator in connection with the

Settlement of the above-captioned class action. 1 The following statements are based on my

personal knowledge and information provided by other Epiq employees working under my

supervision and, if called on to do so, I could and would testify competently thereto.

                       DISSEMINATION OF THE NOTICE PACKET

       2.      Pursuant to the Preliminary Approval Order, Epiq was responsible for mailing the

Notice of (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing; and



1 Unless otherwise defined herein, all capitalized terms shall have the same meaning as set forth

in the Stipulation and Agreement of Settlement dated as of April 1, 2021 (ECF No. 57-1) (the
“Stipulation”).
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(III) Motion for Attorneys’ Fees and Litigation Expenses (the “Notice”) and the Proof of Claim

and Release Form (the “Claim Form”) (collectively, the Notice and Claim Form are referred to as

the “Notice Packet”), to potential Settlement Class Members. A copy of the Notice Packet is

attached hereto as Exhibit A.

        3.     On April 26, 2021, Epiq received an Excel file from Lead Counsel, which Lead

Counsel had received from Defendants, containing the names and addresses of persons and entities

who were identified as potential Settlement Class Members. Epiq extracted these records from

the file and, after clean-up and de-duplication, there remained 13,825 unique names and addresses.

        4.     Epiq formatted the Notice Packet, and caused it to be printed, personalized with the

name and address of each potential Settlement Class Member posted for first-class mail, postage

prepaid, and mailed to the 13,825 potential Settlement Class Members on May 19, 2021

        5.     As in most class actions of this nature, the large majority of potential Settlement

Class Members are beneficial purchasers whose securities are held in “street name” – i.e., the

securities are purchased by brokerage firms, banks, institutions and other third-party nominees in

the name of the nominee, on behalf of the beneficial purchasers. Epiq maintains and updates an

internal list of the largest and most common banks, brokers and other nominees. At the time of

the initial mailing, Epiq’s internal broker list contained 1,139 mailing records. On May 19, 2021,

Epiq caused Notice Packets to be mailed to the 1,139 mailing records contained in its internal

broker list.

        6.     In total, 14,964 copies of the Notice Packet were disseminated to potential

Settlement Class Members and nominees on May 19, 2021.

        7.     The Notice also directed those who purchased or otherwise acquired Baxter

International Inc. common stock during the Class Period for the beneficial interest of a person or


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entity other than themselves to either: (i) request, within seven (7) calendar days of receipt of the

Notice, additional copies of the Notice Packet from the Claims Administrator, and send a copy of

the Notice Packet to such beneficial owners, no later than seven (7) calendar days after receipt of

the copies of the Notice Packet; or (ii) provide Epiq with the names, addresses, and email addresses

(if available) of such beneficial owners no later than seven (7) calendar days after such nominees’

receipt of the Notice.

       8.      Through July 2, 2021, Epiq mailed 57,628 Notice Packets to potential members of

the Settlement Class whose names and addresses were received from individuals, entities, or

nominees requesting that Notice Packets be mailed to such persons and entities, and mailed another

110,662 Notice Packets in bulk to nominees who requested Notice Packets to forward to their

customers. Each of the requests was responded to in a timely manner, and Epiq will continue to

timely respond to any additional requests received.

       9.      Through July 2, 2021, an aggregate of 183,254            Notice Packets have been

disseminated to potential Settlement Class Members and nominees.

                         PUBLICATION OF THE SUMMARY NOTICE

       10.     In accordance with paragraph 5(d) of the Preliminary Approval Order, Epiq caused

the Summary Notice of (I) Pendency of Class Action and Proposed Settlement, (II) Settlement

Hearing; and (III) Motion for Attorneys’ Fees and Litigation Expenses (the “Summary Notice”) to

be published once in The Wall Street Journal and to be transmitted over the PR Newswire on June

1, 2021. Attached as Exhibit B is a Confirmation of Publication attesting to the publication of the

Summary Notice in The Wall Street Journal and a screen shot attesting to the transmittal of the

Summary Notice over the PR Newswire.




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                                  CALL CENTER SERVICES

       11.     Epiq reserved a toll-free phone number for the Settlement, 1-855-654-0873, which

was set forth in the Notice, the Claim Form, the published Summary Notice, and on the Settlement

website.

       12.     The toll-free number connects callers with an Interactive Voice Recording (“IVR”).

The IVR provides callers with pre-recorded information, including a brief summary about the

Action and the option to request a copy of the Notice. The toll-free telephone line with pre-

recorded information is available 24 hours a day, 7 days a week. Callers can request to speak with

a live representative from 8:00 a.m. to 8:00 p.m. Central time, except for weekends and holidays.

During other hours, callers may leave a message for an agent to call them back.

       13.     Epiq made the toll-free phone number and IVR available on May 19, 2021, the

same date Epiq began mailing the Notice Packets.

                                               WEBSITE

       14.     Epiq established and currently maintains a website dedicated to this Settlement

(www.BaxterSecuritiesLitigation.com) to provide additional information to Settlement Class

Members. Users of the website can download copies of the Notice, the Claim Form, the

Stipulation, the Preliminary Approval Order, and the Complaint, among other relevant documents.

The website address was set forth in the published Summary Notice, the Notice, and the Claim

Form. The website was operational beginning on May 19, 2021, and is accessible 24 hours a day,

7 days a week. Epiq will continue operating, maintaining and, as appropriate, updating the website

until the conclusion of this administration.




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                     EXCLUSION REQUESTS RECEIVED TO DATE

       15.     Pursuant to the Preliminary Approval Order, Settlement Class Members who wish

to be excluded from the Settlement Class are required to request exclusion in writing so that the

request is received by July 20, 2021. This deadline has not yet passed. Through July 2, 2021,

Epiq has received 8 requests for exclusion. Epiq will submit a supplemental declaration after the

July 20, 2021 deadline for requesting exclusion that will address all requests for exclusion

received.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.

       Executed on July 6, 2021, at Beaverton, Oregon.



                                                    Owen F Sullivan
                                             ____________________________________
                                                      Owen F. Sullivan




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                            Exhibit A
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                                              UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF ILLINOIS




                                                                             Case No. 1:19‑cv‑07786
    IN RE BAXTER INTERNATIONAL INC.
    SECURITIES LITIGATION                                                    District Judge Sara L. Ellis
                                                                             Magistrate Judge Jeffrey I. Cummings




                 NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT;
                   (II) SETTLEMENT HEARING; AND (III) MOTION FOR ATTORNEYS’ FEES
                                      AND LITIGATION EXPENSES
                        A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
    NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your rights may be affected by the
    above‑captioned securities class action (“Action”) pending in the United States District Court for the Northern
    District of Illinois (“Court”) if, during the period from February 21, 2019 through October 23, 2019, inclusive
    (“Class Period”), you purchased or otherwise acquired Baxter International Inc. (“Baxter”) common stock, and were
    damaged thereby.1
    NOTICE OF SETTLEMENT: Please also be advised that the Court‑appointed Lead Plaintiffs Louisiana Municipal
    Police Employees’ Retirement System and Varma Mutual Pension Insurance Company (together “Lead Plaintiffs”),
    on behalf of themselves and the Settlement Class (as defined in ¶ 22 below), have reached a proposed settlement of the
    Action with defendants Baxter, José E. Almeida, and James K. Saccaro (collectively, “Defendants”) for $16,000,000
    in cash that, if approved, will resolve all claims in the Action (“Settlement”).
    PLEASE READ THIS NOTICE CAREFULLY. This Notice explains important rights you may have, including
    the possible receipt of cash from the Settlement. If you are a member of the Settlement Class, your legal rights
    will be affected whether or not you act.
    If you have questions about this Notice, the Settlement, or your eligibility to participate in the Settlement,
    please DO NOT contact the Court, the Clerk’s Office, Defendants, or Defendants’ Counsel. All questions
    should be directed to Lead Counsel or the Claims Administrator (see ¶ 66 below).
                            Additional information about the Settlement is available on the website,
                                            www.BaxterSecuritiesLitigation.com.
             1.      Description of the Action and the Settlement Class: This Notice relates to the proposed Settlement
    of claims in a pending putative securities class action brought by Baxter investors alleging, among other things, that
    Defendants violated the federal securities laws by making false and misleading statements and omissions concerning
    Baxter’s financials. A more detailed description of the Action is set forth in ¶¶ 11‑21 below. The Settlement, if
    approved by the Court, will settle the claims of the Settlement Class, as defined in ¶ 22 below.
              2.     Statement of the Settlement Class’s Recovery: Subject to Court approval, Lead Plaintiffs,
    on behalf of themselves and the Settlement Class, have agreed to settle the Action in exchange for a settlement
    payment of $16,000,000 in cash (“Settlement Amount”) to be deposited into an escrow account. The Net Settlement
    Fund (i.e., the Settlement Amount plus any and all interest earned thereon (“Settlement Fund”) less: (i) any Taxes;
    (ii) any Notice and Administration Costs; (iii) any Litigation Expenses awarded by the Court; (iv) any attorneys’ fees
    awarded by the Court; and (v) any other costs or fees approved by the Court) will be distributed in accordance with
    a plan of allocation approved by the Court, which will determine how the Net Settlement Fund shall be allocated
    among members of the Settlement Class. The proposed plan of allocation (“Plan of Allocation”) is attached hereto
    as Appendix A.


    1
     All capitalized terms used in this Notice that are not otherwise defined herein shall have the meanings ascribed to them in the Stipulation
    and Agreement of Settlement dated April 1, 2021 (“Stipulation”), which is available at www.BaxterSecuritiesLitigation.com.
                                      Questions? Visit www.BaxterSecuritiesLitigation.com
AD3161 v.09                                         or call 1-855-654-0873.
                                                                                                                           1
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               3.     Estimate of Average Amount of Recovery Per Share: Based on Lead Plaintiffs’ damages
    consultant’s estimate of the number of shares of Baxter common stock purchased or otherwise acquired during
    the Class Period that may have been affected by the alleged conduct at issue in the Action, and assuming that all
    Settlement Class Members elect to participate in the Settlement, the estimated average recovery per eligible share
    of Baxter common stock (before the deduction of any Court‑approved fees, expenses, and costs as described
    herein) is approximately $0.33. Settlement Class Members should note, however, that the foregoing average
    recovery per eligible share is only an estimate. Some Settlement Class Members may recover more or less than
    this estimated amount depending on, among other factors: (i) when and the price at which they purchased/acquired
    shares of Baxter common stock; (ii) whether they sold their shares of Baxter common stock and, if so, when;
    (iii) the total number and value of valid Claims submitted to participate in the Settlement; (iv) the amount of
    Notice and Administration Costs; and (v) the amount of attorneys’ fees and Litigation Expenses awarded by the
    Court. Distributions to Settlement Class Members will be made based on the Plan of Allocation attached hereto as
    Appendix A or such other plan of allocation as may be ordered by the Court.
             4.      Average Amount of Damages Per Share: The Parties do not agree on the amount of damages per
    share of Baxter common stock that would be recoverable if Lead Plaintiffs were to prevail in the Action. Among
    other things, Defendants do not agree that they violated the federal securities laws or that, even if liability could be
    established, any damages were suffered by any members of the Settlement Class as a result of their conduct.
              5.      Attorneys’ Fees and Expenses Sought: Lead Counsel have not received any payment of attorneys’
    fees for their representation of the Settlement Class in the Action and have advanced the funds to pay expenses
    incurred to prosecute this Action with the expectation that if they were successful in recovering money for the
    Settlement Class, they would receive fees and be paid for their expenses from the Settlement Fund, as is customary
    in this type of litigation. Lead Counsel, Bernstein Litowitz Berger & Grossmann LLP and Kessler Topaz Meltzer &
    Check, LLP, will apply to the Court for an award of attorneys’ fees in an amount not to exceed 22% of the Settlement
    Fund. In addition, Lead Counsel will apply for reimbursement or payment of Litigation Expenses incurred by Lead
    Counsel in connection with the institution, prosecution, and resolution of the claims against Defendants, in an amount
    not to exceed $200,000, plus interest, which amount may include a request for reimbursement of the reasonable costs
    and expenses incurred by Lead Plaintiffs directly related to their representation of the Settlement Class in accordance
    with 15 U.S.C. § 78u‑4(a)(4). Any fees and expenses awarded by the Court will be paid from the Settlement Fund.
    Settlement Class Members are not personally liable for any such fees or expenses. The estimated average cost
    per eligible share of Baxter common stock, if the Court approves Lead Counsel’s fee and expense application, is
    approximately $0.08 per share. Please note that this amount is only an estimate.
             6.     Identification of Attorneys’ Representatives: Lead Plaintiffs and the Settlement Class are
    represented by James A. Harrod, Esq. of Bernstein Litowitz Berger & Grossmann LLP, 1251 Avenue of the Americas,
    New York, NY 10020, 1‑800‑380‑8496, settlements@blbglaw.com, www.blbglaw.com and Sharan Nirmul, Esq. of
    Kessler Topaz Meltzer & Check, LLP, 280 King of Prussia Road, Radnor, PA 19087, 1‑610‑667‑7706, info@ktmc.com,
    www.ktmc.com. Further information regarding the Action, the Settlement, and this Notice may be obtained
    by contacting Lead Counsel or the Claims Administrator at: Baxter International Inc. Securities Litigation,
    c/o Epiq Class Action & Claims Solutions, Inc., P.O. Box 5594, Portland, OR 97228‑5594, 1‑855‑654‑0873,
    info@BaxterSecuritiesLitigation.com, www.BaxterSecuritiesLitigation.com. Please do not contact the Court
    regarding this notice.
              7.     Reasons for the Settlement: Lead Plaintiffs’ principal reason for entering into the Settlement is
    the immediate cash benefit for the Settlement Class without the risk or the delays and costs inherent in further
    litigation. Moreover, the cash benefit provided under the Settlement must be considered against the risk that a smaller
    recovery–or, indeed, no recovery at all–might be achieved after a second motion to dismiss, full discovery, contested
    motions, a trial of the Action, and the likely appeals that would follow a trial. This process could be expected to last
    several years. Defendants, who deny all allegations of wrongdoing or liability whatsoever, have determined that it
    is desirable and beneficial to them that the Action be settled in the manner and upon the terms and conditions of the
    Settlement solely to eliminate the uncertainty, burden, and expense of further protracted litigation.

                             YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT:

     SUBMIT A CLAIM FORM             This is the only way to be eligible to receive a payment from the Settlement Fund.
     POSTMARKED (IF                  If you are a Settlement Class Member and you remain in the Settlement Class,
                                     you will be bound by the Settlement as approved by the Court and you will give
     MAILED), OR ONLINE,             up any Released Plaintiffs’ Claims (defined in ¶ 31 below) that you have against
     NO LATER THAN                   Defendants and the other Defendants’ Releasees (defined in ¶ 32 below), so it is in
     SEPTEMBER 16, 2021.             your interest to submit a Claim Form.

                                 Questions? Visit www.BaxterSecuritiesLitigation.com
AD3162 v.09                                    or call 1-855-654-0873.
                                                                                                          2
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     EXCLUDE YOURSELF      Get no payment. If you exclude yourself from the Settlement Class, you will not
     FROM THE SETTLEMENT be eligible to receive any payment from the Settlement Fund. This is the only
     CLASS BY SUBMITTING A option that may allow you to ever be part of any other lawsuit against Defendants
     WRITTEN REQUEST FOR concerning the claims that were, or could have been, asserted in this Action.
     EXCLUSION SO THAT IT
     IS RECEIVED NO LATER
     THAN JULY 20, 2021.

     OBJECT TO THE                                If you do not like the proposed Settlement, the proposed Plan of Allocation, and/or
     SETTLEMENT BY                                the requested attorneys’ fees and Litigation Expenses, you may object by writing
     SUBMITTING A WRITTEN                         to the Court and explaining why you do not like them. You cannot object unless
     OBJECTION SO THAT IT                         you are a member of the Settlement Class and do not exclude yourself from the
     IS RECEIVED NO LATER                         Settlement Class.
     THAN JULY 20, 2021.
     ATTEND A HEARING ON                          If you have filed a written objection and wish to appear at the hearing, you must
     AUGUST 10, 2021 AT                           also file a notice of intention to appear by July 20, 2021, which allows you to speak
     10:00 A.M., AND FILE A                       in Court, at the discretion of the Court, about the fairness of the Settlement, the Plan
     NOTICE OF INTENTION                          of Allocation, and/or the request for attorneys’ fees and Litigation Expenses. If you
     TO APPEAR SO THAT IT                         submit a written objection, you may (but you do not have to) attend the hearing.
     IS RECEIVED NO LATER
     THAN JULY 20, 2021.
                                                  If you are a member of the Settlement Class and you do not submit a valid Claim
                                                  Form, you will not be eligible to receive any payment from the Settlement Fund.
     DO NOTHING.                                  You will, however, remain a member of the Settlement Class, which means that you
                                                  give up your right to sue about the claims that are resolved by the Settlement and
                                                  you will be bound by any judgments or orders entered by the Court in the Action.

    These rights and options – and the deadlines to exercise them – are further explained in this Notice.
    Please Note: The date and time of the Settlement Hearing – currently scheduled for August 10, 2021 at
    10:00 a.m. – is subject to change without further notice to the Settlement Class. It is also within the Court’s
    discretion to hold the hearing in person or telephonically. If you plan to attend the hearing, you should check
    the Settlement website, www.BaxterSecuritiesLitigation.com, or with Lead Counsel as set forth above to
    confirm that no change to the date and/or time of the hearing has been made.

                                                            WHAT THIS NOTICE CONTAINS
    Why Did I Get This Notice? .................................................................................................................................Page 4
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       Who Is Included In The Settlement Class? ....................................................................................................Page 5
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    How Are Settlement Class Members Affected By The Action
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    When And Where Will The Court Decide Whether To Approve The
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                                            Questions? Visit www.BaxterSecuritiesLitigation.com
AD3163 v.09                                               or call 1-855-654-0873.
                                                                                                                                               3
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    What If I Bought Shares Of Baxter Common Stock On
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       Questions? .................................................................................................................................................... Page 11
    Proposed Plan of Allocation of Net Settlement Fund Among
       Authorized Claimants ...........................................................................................................................Appendix A

                                                               WHY DID I GET THIS NOTICE?
              8.      The Court authorized that this Notice be sent to you because you or someone in your family or an
    investment account for which you serve as custodian may have purchased or otherwise acquired shares of Baxter
    common stock during the Class Period. The Court has directed us to send you this Notice because, as a potential
    Settlement Class Member, you have the right to understand how this class action lawsuit may generally affect your
    legal rights. If the Court approves the Settlement and the Plan of Allocation (or some other plan of allocation), the
    Claims Administrator selected by Lead Plaintiffs and approved by the Court will make payments pursuant to the
    Settlement after any objections and appeals are resolved.
              9.      The purpose of this Notice is to inform you of the existence of this case, that it is a class action, how
    you (if you are a Settlement Class Member) might be affected, and how to exclude yourself from the Settlement Class
    if you wish to do so. It is also being sent to inform you of the terms of the proposed Settlement, and of a hearing to
    be held by the Court to consider the fairness, reasonableness, and adequacy of the Settlement, the proposed Plan of
    Allocation, and Lead Counsel’s motion for an award of attorneys’ fees and Litigation Expenses (“Settlement Hearing”).
    See ¶¶ 56‑57 below for details about the Settlement Hearing, including the date and location of the hearing.
              10.    The issuance of this Notice is not an expression of any opinion by the Court concerning the merits
    of any claim in the Action, and the Court still has to decide whether to approve the Settlement. If the Court approves
    the Settlement and a plan of allocation, then payments to Authorized Claimants will be made after any appeals are
    resolved and after the completion of all claims processing. Please be patient, as this process can take some time.

                                                                WHAT IS THIS CASE ABOUT?
              11.    This is a securities class action against Baxter and certain of its executive officers. Lead Plaintiffs
    allege that, during the Class Period, Defendants made materially false and misleading statements and omissions
    concerning: (i) Baxter’s income related to foreign exchange fluctuations, as well as other financial metrics reflecting
    that income item; (ii) Baxter’s compliance with generally accepted accounting principles; and (iii) Baxter’s internal
    controls over financial reporting. Lead Plaintiffs further allege that the price of Baxter common stock was artificially
    inflated during the Class Period as a result of Defendants’ allegedly false and misleading statements, and declined
    when the truth was revealed on October 24, 2019.
             12.   The Action was commenced on November 25, 2019, with the filing of a putative securities class
    action complaint in this Court.
            13.     Pursuant to the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u‑4, as amended
    (“PSLRA”), notice to the public was issued setting forth the deadline by which putative class members could move
    the Court to be appointed to act as lead plaintiff. By Order dated January 31, 2020, this Court appointed Louisiana
    Municipal Police Employees’ Retirement System and Varma Mutual Pension Insurance Company as Lead Plaintiffs
    and approved Lead Plaintiffs’ selection of Bernstein Litowitz Berger & Grossmann LLP and Kessler Topaz Meltzer
    & Check, LLP as Lead Counsel for the class.
             14.   Thereafter, on June 25, 2020, Lead Plaintiffs filed a Class Action Complaint and Demand for Jury
    Trial (“Complaint”). The Complaint asserted claims under Sections 10(b) and 20(a) of the Securities Exchange Act of
    1934 and Rule 10b‑5 promulgated thereunder against Defendants.
              15.    On August 24, 2020, Defendants moved to dismiss the Complaint. On October 8, 2020, Lead
    Plaintiffs opposed Defendants’ motion to dismiss, and on November 9, 2020, Defendants filed their reply in support
    of their motion.
            16.    On January 12, 2021, the Court issued an Opinion and Order granting Defendants’ motion to dismiss
    the Complaint (“MTD Order”). By the MTD Order, the Court provided Lead Plaintiffs twenty‑one (21) days to
    amend the Complaint. The Court subsequently extended this deadline to February 26, 2021.



                                              Questions? Visit www.BaxterSecuritiesLitigation.com
AD3164 v.09                                                 or call 1-855-654-0873.
                                                                                                                                                     4
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             17.     Beginning in December 2020, the Parties discussed the possibility of resolving the Action through
    settlement and agreed to mediate before Greg Lindstrom of Phillips ADR. A mediation session with Mr. Lindstrom
    was scheduled for February 17, 2021. In advance of the mediation, the Parties exchanged detailed mediation statements
    addressing liability and damages issues.
              18.     The Parties reached an agreement in principle to settle the Action at the February 17, 2021 mediation
    and memorialized their agreement in a term sheet executed on February 25, 2021. Lead Plaintiffs and Defendants
    ultimately agreed, subject to the Due Diligence Discovery described below and the other terms and conditions to be
    set forth in the Stipulation, to settle and release all claims asserted against Defendants in the Action for $16,000,000.
            19.     On February 25, 2021, the Parties filed the Joint Motion Requesting a Stay of Deadlines Pending
    Motion for Preliminary Approval of Settlement, which the Court granted on March 1, 2021.
              20.     After additional weeks of negotiations regarding the specific terms of their agreement, the Parties
    entered into the Stipulation on April 1, 2021. The Stipulation can be viewed at www.BaxterSecuritiesLitigation.com.
    The Stipulation sets forth the final terms and conditions of the Settlement, including the condition that the Settlement
    is not final until the completion of Due Diligence Discovery to the satisfaction of Lead Plaintiffs and Lead Counsel.
    In connection with the Due Diligence Discovery, Defendants are producing documents and information regarding the
    allegations and claims asserted in the Complaint, and have agreed to make an individual knowledgeable concerning
    the subjects of Lead Plaintiffs’ allegations available for an interview. Pursuant to the Stipulation, if at any time prior
    to filing their motion in support of final approval of the Settlement, Lead Plaintiffs believe that the documents and
    information produced during Due Diligence Discovery render the proposed Settlement inadequate, they shall submit
    their concerns to the mediator, Mr. Lindstrom. Pursuant to the Stipulation, Defendants shall have the opportunity to
    respond to those concerns and the Parties shall use their best efforts to resolve any disagreements. If, following these
    discussions, Lead Plaintiffs continue to believe the proposed Settlement is inadequate, they shall have the right to
    withdraw from and terminate the Settlement.
             21.     On April 20, 2021, the Court preliminarily approved the Settlement, authorized notice of the
    Settlement to potential Settlement Class Members, and scheduled the Settlement Hearing to consider whether to
    grant final approval to the Settlement.

                             HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
                                WHO IS INCLUDED IN THE SETTLEMENT CLASS?
             22.     If you are a member of the Settlement Class, you are subject to the Settlement, unless you timely
    request to be excluded from the Settlement Class. The Settlement Class certified by the Court for purposes of
    effectuating the Settlement consists of:
                All persons and entities who purchased or otherwise acquired Baxter common stock
                during the period from February 21, 2019 through October 23, 2019, inclusive, and were
                damaged thereby.
    Excluded from the Settlement Class are Defendants, any person who was an executive officer or director of Baxter
    during the Class Period, their Immediate Family members, any affiliates of Baxter, and any persons or entities who
    or which exclude themselves by submitting a timely and valid request for exclusion that is accepted by the Court. See
    “What If I Do Not Want To Be A Member Of The Settlement Class? How Do I Exclude Myself?,” on page 9 below.
    PLEASE NOTE: RECEIPT OF THIS NOTICE DOES NOT MEAN THAT YOU ARE A SETTLEMENT
    CLASS MEMBER OR THAT YOU WILL BE ENTITLED TO RECEIVE PROCEEDS FROM
    THE SETTLEMENT.
    IF YOU WISH TO BE ELIGIBLE TO PARTICIPATE IN THE DISTRIBUTION OF PROCEEDS FROM
    THE SETTLEMENT, YOU ARE REQUIRED TO SUBMIT THE CLAIM FORM THAT IS BEING
    DISTRIBUTED WITH THIS NOTICE AND THE REQUIRED SUPPORTING DOCUMENTATION
    POSTMARKED (IF MAILED), OR ONLINE, NO LATER THAN SEPTEMBER 16, 2021.

                         WHAT ARE LEAD PLAINTIFFS’ REASONS FOR THE SETTLEMENT?
              23.   Lead Plaintiffs and Lead Counsel believe that the claims asserted against Defendants have merit.
    They recognize, however, the expense and length of the continued proceedings that would be necessary to pursue
    their claims against Defendants through a second motion to dismiss, full discovery, certification of the class,
    summary judgment, trial, and appeals, as well as the substantial risks they would face in establishing liability and

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AD3165 v.09                                     or call 1-855-654-0873.
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    damages. As noted above, Lead Plaintiffs’ Complaint was dismissed in its entirety. Even if Lead Plaintiffs amended
    their Complaint to address the deficiencies identified in the Court’s MTD Order and were able to successfully
    defeat a second motion to dismiss, Lead Plaintiffs would still face challenges to proving, at summary judgment
    and trial, that Defendants made material misrepresentations and omissions to the market during the Class Period
    and that Defendants Almeida and Saccaro knew or recklessly disregarded material facts undermining their alleged
    misrepresentations at the time they made such statements. There were also risks related to proving that Defendants’
    alleged misrepresentations and omissions caused the alleged losses suffered by Lead Plaintiffs and the Settlement
    Class, and in establishing damages. Thus, there were very significant risks attendant to the continued prosecution of
    the Action, including the risk of zero recovery. The Settlement eliminates these risks.
             24.     In light of these risks, the amount of the Settlement, and the immediacy of recovery to the Settlement
    Class, and subject to the satisfactory completion of Due Diligence Discovery, Lead Plaintiffs and Lead Counsel
    believe that the proposed Settlement is fair, reasonable, and adequate, and in the best interests of the Settlement
    Class. Lead Plaintiffs and Lead Counsel believe that the Settlement provides a favorable result for the Settlement
    Class, namely $16,000,000 in cash (less the various deductions described in this Notice), as compared to the risk that
    the claims in the Action would produce a smaller, or no, recovery after a second motion to dismiss, full discovery,
    summary judgment, trial, and appeals, possibly years in the future.
              25.    Defendants have denied and continue to deny the claims and allegations asserted against them in the
    Action, including that: they made false and misleading statements, they knew or recklessly disregarded material facts
    undermining their statements at the time they made them, and Lead Plaintiffs or Settlement Class Members suffered
    any damages or harm by the conduct alleged in the Action. Defendants have nonetheless agreed to the Settlement
    solely to eliminate the uncertainty, burden, and expense of continued litigation. The Settlement may not be construed
    as an admission of any wrongdoing by Defendants in this or any other action or proceeding.

                            WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?
             26.    If there were no Settlement, Lead Plaintiffs would have amended the Complaint and faced a second
    motion to dismiss. If Lead Plaintiffs failed to establish any essential legal or factual element of their claims against
    Defendants, neither Lead Plaintiffs nor the other members of the Settlement Class would recover anything from
    Defendants. Also, if Defendants were successful in establishing any of their defenses on a second motion to dismiss,
    at summary judgment, at trial, or on appeal, the Settlement Class could recover substantially less than the amount
    provided in the Settlement, or nothing at all.

          HOW ARE SETTLEMENT CLASS MEMBERS AFFECTED BY THE ACTION AND THE SETTLEMENT?
              27.    As a Settlement Class Member, you are represented by Lead Plaintiffs and Lead Counsel, unless you
    enter an appearance through counsel of your own choice and at your own expense. You are not required to retain your
    own counsel, but if you choose to do so, such counsel must file a notice of appearance on your behalf and must serve
    copies of his or her appearance on the attorneys listed in the section entitled, “When And Where Will The Court
    Decide Whether To Approve The Settlement?,” on page 10 below.
            28.    If you are a Settlement Class Member and do not wish to remain a Settlement Class Member, you
    must exclude yourself from the Settlement Class by following the instructions in the section entitled, “What If I Do
    Not Want To Be A Member Of The Settlement Class? How Do I Exclude Myself?,” on page 9 below.
            29.    If you are a Settlement Class Member and you wish to object to the Settlement, the Plan of Allocation,
    and/or Lead Counsel’s application for attorneys’ fees and Litigation Expenses, and if you do not exclude yourself
    from the Settlement Class, you may present your objections by following the instructions in the section entitled,
    “When And Where Will The Court Decide Whether To Approve The Settlement?,” on page 10 below.
              30.    If you are a Settlement Class Member and you do not exclude yourself from the Settlement Class,
    you will be bound by any orders issued by the Court. If the Settlement is approved, the Court will enter a judgment
    (“Judgment”). The Judgment will dismiss with prejudice the claims against Defendants and will provide that, upon
    the Effective Date of the Settlement, Lead Plaintiffs and each of the other Settlement Class Members and Plaintiffs’
    Releasees shall be deemed to have, and by operation of law and of the Judgment shall have, fully, finally, and forever
    compromised, settled, released, resolved, relinquished, waived, and discharged each and every Released Plaintiffs’
    Claim (as defined in ¶ 31 below) against Defendants and the other Defendants’ Releasees (as defined in ¶ 32 below),
    and shall permanently and forever be barred and enjoined from prosecuting, attempting to prosecute, or assisting
    others in the prosecution of any or all of the Released Plaintiffs’ Claims against any of the Defendants’ Releasees.


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              31.      “Released Plaintiffs’ Claims” means all claims, rights, remedies, demands, liabilities, and causes
    of action of every nature and description, whether known or Unknown Claims, whether arising under federal,
    state, common, or foreign law, that Lead Plaintiffs or any other member of the Settlement Class (a) asserted in the
    Complaint, or (b) could have asserted in any forum that arise out of or are based upon the allegations, transactions,
    facts, matters, or occurrences, representations or omissions involved, set forth, or referred to in the Complaint and
    that relate to the purchase or acquisition of Baxter common stock during the Class Period. For the avoidance of doubt,
    Released Plaintiffs’ Claims include any claims under the Securities Act of 1933 or the Securities Exchange Act of
    1934, or the securities laws of any state or territory. The following claims are not included as Released Plaintiffs’
    Claims: (i) any claims relating to the enforcement of the Settlement; and (ii) any claims of any person or entity who
    or which submits a request for exclusion that is accepted by the Court.
             32.     “Defendants’ Releasees” means Defendants and all of their respective past, present and future parent
    companies, subsidiaries, affiliates, divisions, joint ventures, subcontractors, agents, assigns, auditors, accountants,
    attorneys, financial or investment advisors or consultants, banks or investment bankers, insurers, subrogates,
    co‑insurers, and reinsurers, and all of their respective past, present and future officers, directors, fiduciaries,
    employees, members, partners, principals, shareholders, and owners, in their capacities as such; any entity in which
    a Defendant has a controlling interest; and any member of an Individual Defendant’s Immediate Family, or any trust
    of which any Individual Defendant is a settlor or which is for the benefit of any Defendant and/or member(s) of his or
    her Immediate Family, and each of the heirs, executors, administrators, predecessors, successors, and assigns of the
    foregoing, in their capacities as such.
               33.     “Unknown Claims” means any Released Plaintiffs’ Claims which any Lead Plaintiff or any other
    Settlement Class Member does not know or suspect to exist in his, her, or its favor at the time of the release of such
    claims, and any Released Defendants’ Claims that any Defendant does not know or suspect to exist in his, her, or its
    favor at the time of the release of such claims, which, if known by him, her, or it, might have materially affected his,
    her, or its decision(s) with respect to this Settlement. With respect to any and all Released Claims, the Parties stipulate
    and agree that, upon the Effective Date of the Settlement, Lead Plaintiffs and Defendants shall expressly waive, and
    each of the other Settlement Class Members shall be deemed to have waived, and by operation of the Judgment or the
    Alternate Judgment, if applicable, shall have expressly waived, any and all provisions, rights, and benefits conferred
    by any law of any state or territory of the United States, or principle of common law or foreign law, which is similar,
    comparable, or equivalent to California Civil Code § 1542, which provides:
                      A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
                      CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
                      TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
                      THE RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD
                      HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH
                      THE DEBTOR OR RELEASED PARTY.
    Lead Plaintiffs, other Settlement Class Members, or Defendants may hereafter discover facts, legal theories, or
    authorities in addition to or different from those which any of them now knows or believes to be true with respect
    to the subject matter of the Released Claims, but Lead Plaintiffs and Defendants shall expressly, fully, finally, and
    forever waive, compromise, settle, discharge, extinguish, and release, and each Settlement Class Member shall be
    deemed to have waived, compromised, settled, discharged, extinguished, and released, and upon the Effective Date
    and by operation of the Judgment or Alternative Judgment shall have waived, compromised, settled, discharged,
    extinguished, and released, fully, finally, and forever, any and all Released Claims as applicable, known or unknown,
    suspected or unsuspected, contingent or absolute, accrued or unaccrued, apparent or unapparent, which now exist, or
    heretofore existed, or may hereafter exist, without regard to the subsequent discovery or existence of such different
    or additional facts, legal theories, or authorities. Lead Plaintiffs and Defendants acknowledge, and each of the other
    Settlement Class Members shall be deemed by operation of law to have acknowledged, that the foregoing waiver was
    separately bargained for and a key element of the Settlement.
              34.    Pursuant to the Judgment (or the Alternate Judgment, if applicable), without further action by anyone,
    upon the Effective Date of the Settlement, Defendants and Defendants’ Releasees shall be deemed to have, and by
    operation of law and of the judgment shall have, fully, finally, and forever compromised, settled, released, resolved,
    relinquished, waived, and discharged each and every Released Defendants’ Claim (as defined in ¶ 35 below) against
    Lead Plaintiffs and the other Plaintiffs’ Releasees (as defined in ¶ 36 below), and shall permanently and forever be
    barred and enjoined from prosecuting, attempting to prosecute, or assisting others in the prosecution of any or all of
    the Released Defendants’ Claims against any of the Plaintiffs’ Releasees. This release shall not apply to any person
    or entity who or which submits a request for exclusion from the Settlement Class that is accepted by the Court.



                                  Questions? Visit www.BaxterSecuritiesLitigation.com
AD3167 v.09                                     or call 1-855-654-0873.
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               35.   “Released Defendants’ Claims” means all claims and causes of action of every nature and description,
    whether known or Unknown Claims, whether arising under federal, state, common or foreign law, that arise out of or
    relate in any way to the institution, prosecution, or settlement of the claims against Defendants. Released Defendants’
    Claims do not include: (i) any claims relating to the enforcement of the Settlement; or (ii) any claims against any
    person or entity who or which submits a request for exclusion from the Settlement Class that is accepted by the Court.
               36.    “Plaintiffs’ Releasees” means (i) Lead Plaintiffs, their attorneys, and all other Settlement Class
    Members; (ii) the current and former parents, affiliates, subsidiaries, successors, predecessors, assigns, and assignees
    of each of the foregoing in (i); and (iii) the current and former officers, directors, Immediate Family members, heirs,
    trusts, trustees, executors, estates, administrators, beneficiaries, agents, affiliates, insurers, reinsurers, predecessors,
    successors, assigns, and advisors of each of the persons or entities listed in (i) and (ii), in their capacities as such.

                                     HOW DO I PARTICIPATE IN THE SETTLEMENT?
                                              WHAT DO I NEED TO DO?
             37.   To be eligible for a payment from the proceeds of the Settlement, you must be a member of
    the Settlement Class and you must timely complete and return the Claim Form with adequate supporting
    documentation postmarked (if mailed), or submitted online at www.BaxterSecuritiesLitigation.com, no
    later than September 16, 2021. A Claim Form is included with this Notice, or you may obtain one from the
    website maintained by the Claims Administrator, www.BaxterSecuritiesLitigation.com, or on Lead Counsel’s
    websites, www.blbglaw.com and www.ktmc.com, or you may request that a Claim Form be mailed to you
    by calling the Claims Administrator toll free at 1‑855‑654‑0873, or by emailing the Claims Administrator at
    info@BaxterSecuritiesLitigation.com. Please retain all records of your ownership of and transactions in
    Baxter common stock, as they may be needed to document your Claim. If you request exclusion from the
    Settlement Class or do not submit a timely and valid Claim Form, you will not be eligible to share in the Net
    Settlement Fund.

                                           HOW MUCH WILL MY PAYMENT BE?
            38.   At this time, it is not possible to make any determination as to how much any individual Settlement
    Class Member may receive from the Settlement.
             39.     Pursuant to the Settlement, Defendants shall pay or cause to be paid $16,000,000 in cash. The
    Settlement Amount will be deposited into an escrow account. The Settlement Amount plus any interest earned
    thereon is referred to as the “Settlement Fund.” If the Settlement is approved by the Court and the Effective Date
    occurs, the Net Settlement Fund will be distributed to Settlement Class Members who submit valid Claim Forms, in
    accordance with the proposed Plan of Allocation or such other plan of allocation as the Court may approve.
             40.     The Net Settlement Fund will not be distributed unless and until the Court has approved the
    Settlement and a Plan of Allocation and that decision is affirmed on appeal (if any) and/or the time for any petition
    for rehearing, appeal, or review, whether by certiorari or otherwise, has expired.
             41.    Neither Defendants, Defendants’ Releasees, nor any other person or entity (including Defendants’
    insurance carriers) who or which paid any portion of the Settlement Amount on their behalf are entitled to get back
    any portion of the Settlement Fund once the Court’s order or Judgment approving the Settlement becomes Final.
    Defendants and the other Defendants’ Releasees shall not have any liability, obligation, or responsibility for the
    administration of the Settlement, the disbursement of the Net Settlement Fund, or the Plan of Allocation.
              42.    Unless the Court otherwise orders, any Settlement Class Member who fails to submit a Claim Form
    postmarked (if mailed), or online, on or before September 16, 2021 shall be fully and forever barred from receiving
    payments pursuant to the Settlement but will in all other respects remain a Settlement Class Member and be subject
    to the provisions of the Stipulation, including the terms of any Judgment entered and the Releases given. This means
    that each Settlement Class Member releases the Released Plaintiffs’ Claims (as defined in ¶ 31 above) against the
    Defendants’ Releasees (as defined in ¶ 32 above) and will be enjoined and prohibited from prosecuting any of the
    Released Plaintiffs’ Claims against any of the Defendants’ Releasees whether or not such Settlement Class Member
    submits a Claim Form.
             43.   Participants in and beneficiaries of any employee retirement and/or benefit plan (“Employee Plan”)
    should NOT include any information relating to shares of Baxter common stock purchased/acquired through an
    Employee Plan in any Claim Form they submit in this Action. They should include ONLY those eligible shares of
    Baxter common stock purchased/acquired during the Class Period outside of an Employee Plan. Claims based on any
    Employee Plan(s)’ purchases/acquisitions of eligible Baxter common stock during the Class Period may be made by
    the Employee Plan(s)’ trustees.
                                  Questions? Visit www.BaxterSecuritiesLitigation.com
AD3168 v.09                                     or call 1-855-654-0873.
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             44.   The Court has reserved jurisdiction to allow, disallow, or adjust on equitable grounds the Claim of
    any Settlement Class Member.
               45.   Each Claimant shall be deemed to have submitted to the jurisdiction of the Court with respect to his,
    her, or its Claim Form.
             46.    Only Settlement Class Members will be eligible to share in the distribution of the Net Settlement
    Fund. Persons and entities who are excluded from the Settlement Class by definition or who exclude themselves
    from the Settlement Class pursuant to an exclusion request will not be eligible to receive a distribution from the Net
    Settlement Fund and should not submit Claim Forms.
             47.    Appendix A to this Notice sets forth the Plan of Allocation for allocating the Net Settlement
    Fund among Authorized Claimants, as proposed by Lead Plaintiffs. At the Settlement Hearing, Lead Counsel
    will request the Court approve the Plan of Allocation. The Court may modify the Plan of Allocation, or approve
    a different plan of allocation, without further notice to the Settlement Class.

                 WHAT PAYMENT ARE THE ATTORNEYS FOR THE SETTLEMENT CLASS SEEKING?
                                  HOW WILL THE LAWYERS BE PAID?
              48.     Lead Counsel will apply to the Court for an award of attorneys’ fees and reimbursement or payment
    of Litigation Expenses. Lead Counsel’s motion for attorneys’ fees will not exceed 22% of the Settlement Fund and
    their motion for Litigation Expenses will not exceed $200,000 in expenses incurred in connection with the prosecution
    and resolution of this Action. Lead Counsel’s motion for attorneys’ fees and Litigation Expenses, which may include
    a request for reimbursement of the reasonable costs and expenses incurred by Lead Plaintiffs directly related to
    their representation of the Settlement Class in accordance with 15 U.S.C. § 78u‑4(a)(4), will be filed by July 6, 2021,
    and the Court will consider Lead Counsel’s motion at the Settlement Hearing. A copy of Lead Counsel’s motion
    for attorneys’ fees and Litigation Expenses will be available for review at www.BaxterSecuritiesLitigation.com
    once it is filed. Any award of attorneys’ fees and reimbursement or payment of Litigation Expenses, including any
    reimbursement of costs and expenses to Lead Plaintiffs, will be paid from the Settlement Fund prior to allocation and
    payment to Authorized Claimants. Settlement Class Members are not personally liable for any such attorneys’ fees
    or expenses.

                    WHAT IF I DO NOT WANT TO BE A MEMBER OF THE SETTLEMENT CLASS?
                                       HOW DO I EXCLUDE MYSELF?
             49.      Each Settlement Class Member will be bound by all determinations and judgments in this lawsuit,
    whether favorable or unfavorable, unless such person or entity mails or delivers a written request for exclusion
    addressed to: Baxter International Inc. Securities Litigation, EXCLUSIONS, c/o Epiq Class Action & Claims
    Solutions, Inc., P.O. Box 5594, Portland, OR 97228‑5594. The request for exclusion must be received no later than
    July 20, 2021. You will not be able to exclude yourself from the Settlement Class after that date.
              50.      Each request for exclusion must: (i) state the name, address, and telephone number of the person or
    entity requesting exclusion, and in the case of entities, the name and telephone number of the appropriate contact
    person; (ii) state that such person or entity “requests exclusion from the Settlement Class in In re Baxter International
    Inc. Securities Litigation, Case No. 1:19‑cv‑07786 (N.D. Ill.)”; (iii) state the number of shares of Baxter common
    stock that the person or entity requesting exclusion (A) owned as of the opening of trading on February 21, 2019
    and (B) purchased/acquired and/or sold during the Class Period (from February 21, 2019 through October 23, 2019,
    inclusive), as well as the dates, number of shares, and prices of each such purchase/acquisition and sale; and (iv) be
    signed by the person or entity requesting exclusion or an authorized representative.
              51.    A request for exclusion shall not be valid and effective unless it provides all the information called
    for in ¶ 50 and is received within the time stated above, or is otherwise accepted by the Court.
              52.    If you do not want to be part of the Settlement Class, you must follow these instructions for exclusion
    even if you have pending, or later file, another lawsuit, arbitration, or other proceeding relating to any Released
    Plaintiffs’ Claim against any of the Defendants’ Releasees. Excluding yourself from the Settlement Class is the
    only option that allows you to be part of any other current or future lawsuit against Defendants or any of the other
    Defendants’ Releasees concerning the Released Plaintiffs’ Claims. Please note: If you decide to exclude yourself
    from the Settlement Class, Defendants and the other Defendants’ Releasees will have the right to assert any and all
    defenses they may have to any claims that you may seek to assert.
              53.    If you ask to be excluded from the Settlement Class, you will not be eligible to receive any payment
    out of the Net Settlement Fund.
                                 Questions? Visit www.BaxterSecuritiesLitigation.com
AD3169 v.09                                    or call 1-855-654-0873.
                                                                                                           9
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             54.    Defendants have the right to terminate the Settlement if valid requests for exclusion are received
    from persons and entities entitled to be members of the Settlement Class in an amount that exceeds an amount agreed
    to by Lead Plaintiffs and Defendants.

          WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE SETTLEMENT?
                 DO I HAVE TO COME TO THE HEARING? MAY I SPEAK AT THE HEARING
                                IF I DON’T LIKE THE SETTLEMENT?
             55.   Settlement Class Members do not need to attend the Settlement Hearing. The Court will
    consider any submission made in accordance with the provisions below even if a Settlement Class Member
    does not attend the hearing. You can participate in the Settlement without attending the Settlement Hearing.
             56.    Please Note: The date and time of the Settlement Hearing may change without further written notice
    to the Settlement Class. In addition, the COVID‑19 pandemic is a fluid situation that creates the possibility that the
    Court may decide to conduct the Settlement Hearing by video or telephonic conference, or otherwise allow Settlement
    Class Members to appear at the hearing by phone, without further written notice to the Settlement Class. In order
    to determine whether the date and time of the Settlement Hearing have changed, or whether Settlement Class
    Members must or may participate by phone or video, it is important that you monitor the Court’s docket
    and the Settlement website, www.BaxterSecuritiesLitigation.com, before making any plans to attend the
    Settlement Hearing. Any updates regarding the Settlement Hearing, including any changes to the date or time
    of the hearing or updates regarding in‑person or telephonic appearances at the hearing, will be posted to the
    Settlement website, www.BaxterSecuritiesLitigation.com. Also, if the Court requires or allows Settlement
    Class Members to participate in the Settlement Hearing by telephone, the phone number for accessing the
    telephonic conference will be posted to the Settlement website, www.BaxterSecuritiesLitigation.com.
              57.    The Settlement Hearing will be held on August 10, 2021 at 10:00 a.m., before the Honorable Sara
    L. Ellis either in person at the Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street,
    Chicago, IL 60604, Courtroom 1403, or by telephone or videoconference (in the discretion of the Court). The Court
    reserves the right to approve the Settlement, the Plan of Allocation, Lead Counsel’s motion for an award of attorneys’
    fees and Litigation Expenses, and/or any other matter related to the Settlement at or after the Settlement Hearing
    without further notice to the members of the Settlement Class.
              58.     Any Settlement Class Member who or which does not request exclusion may object to the Settlement,
    the Plan of Allocation, and/or Lead Counsel’s motion for an award of attorneys’ fees and Litigation Expenses.
    Objections must be in writing. You must file any written objection, together with copies of all other papers and
    briefs supporting the objection, with the Clerk’s Office at the United States District Court for the Northern District
    of Illinois at the address set forth below as well as serve copies on Lead Counsel and Defendants’ Counsel at the
    addresses set forth below on or before July 20, 2021.

                   Clerk’s Office                       Lead Counsel                        Defendants’ Counsel
           United States District Court            James A. Harrod, Esq.                   Sean M. Berkowitz, Esq.
           Northern District of Illinois        Bernstein Litowitz Berger &                Latham & Watkins LLP
           Everett McKinley Dirksen                   Grossmann LLP                       330 North Wabash Avenue
            United States Courthouse            1251 Avenue of the Americas                      Suite 2800
           219 South Dearborn Street               New York, NY 10020                         Chicago, IL 60611
               Chicago, IL 60604
                                                    Sharan Nirmul, Esq.
                                                  Kessler Topaz Meltzer &
                                                        Check, LLP
                                                  280 King of Prussia Road
                                                     Radnor, PA 19087

                59.    Any objections, filings, and other submissions by the objecting Settlement Class Member: (a) must
    identify the case name and docket number, In re Baxter International Inc. Sec. Litig., Case No. 1:19‑cv‑07786 (N.D.
    Ill.); (b) must state the name, address, and telephone number of the person or entity objecting and must be signed by
    the objector; (c) must state with specificity the grounds for the Settlement Class Member’s objection, including any
    legal and evidentiary support the Settlement Class Member wishes to bring to the Court’s attention and whether the
    objection applies only to the objector, to a specific subset of the Settlement Class, or to the entire Settlement Class;
    and (d) must include documents sufficient to prove membership in the Settlement Class, including the number of
    shares of Baxter common stock that the objecting Settlement Class Member (A) owned as of the opening of trading on
    February 21, 2019 and (B) purchased/acquired and/or sold during the Class Period (from February 21, 2019 through
                                    Questions? Visit www.BaxterSecuritiesLitigation.com
AD31610 v.09                                      or call 1-855-654-0873.
                                                                                                         10
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   October 23, 2019, inclusive), as well as the dates, number of shares, and prices of each such purchase/acquisition
   and sale. The objecting Settlement Class Member shall provide documentation establishing membership in the
   Settlement Class through copies of brokerage confirmation slips or monthly brokerage account statements, or an
   authorized statement from the objector’s broker containing the transactional and holding information found in a
   broker confirmation slip or account statement.
            60.   You may not object to the Settlement, Plan of Allocation, and/or Lead Counsel’s motion for an
   award of attorneys’ fees and Litigation Expenses if you exclude yourself from the Settlement Class or if you
   are not a member of the Settlement Class.
            61.    You may submit an objection without having to appear at the Settlement Hearing. You may not,
   however, appear at the Settlement Hearing to present your objection unless (1) you first submit a written objection in
   accordance with the procedures described above, (2) you first submit your notice of appearance in accordance with
   the procedures described below, or (3) the Court orders otherwise.
             62.    If you wish to be heard orally at the hearing in opposition to the approval of the Settlement, the
   Plan of Allocation, and/or Lead Counsel’s motion for an award of attorneys’ fees and Litigation Expenses, and if
   you timely submit a written objection as described above, you must also file a notice of appearance with the Clerk’s
   Office and serve it on Lead Counsel and Defendants’ Counsel at the addresses set forth in ¶ 58 above so that it is
   received on or before July 20, 2021. Persons who intend to object and desire to present evidence at the Settlement
   Hearing must include in their written objection or notice of appearance the identity of any witnesses they may call
   to testify and exhibits they intend to introduce into evidence at the hearing. Such persons may be heard orally at the
   discretion of the Court.
             63.    You are not required to hire an attorney to represent you in making written objections or in appearing
   at the Settlement Hearing. However, if you decide to hire an attorney, it will be at your own expense, and that attorney
   must file a notice of appearance with the Court and serve it on Lead Counsel and Defendants’ Counsel at the
   addresses set forth in ¶ 58 above so that the notice is received on or before July 20, 2021.
           64.    Unless the Court orders otherwise, any Settlement Class Member who does not object in the
   manner described above will be deemed to have waived any objection and shall be forever foreclosed from
   making any objection to the proposed Settlement, the proposed Plan of Allocation, and/or Lead Counsel’s
   motion for an award of attorneys’ fees and Litigation Expenses. Settlement Class Members do not need to
   appear at the Settlement Hearing or take any other action to indicate their approval.

                            WHAT IF I BOUGHT SHARES OF BAXTER COMMON STOCK
                                        ON SOMEONE ELSE’S BEHALF?
             65.    If you purchased or otherwise acquired Baxter common stock during the period from
   February 21, 2019 through October 23, 2019, inclusive, for the beneficial interest of a person or entity other than
   yourself, you must either (i) within seven (7) calendar days of receipt of this Notice, request from the Claims
   Administrator sufficient copies of the Notice and Claim Form (“Notice Packet”) to forward to all such beneficial
   owners and within seven (7) calendar days of receipt of those Notice Packets forward them to all such beneficial
   owners; or (ii) within seven (7) calendar days of receipt of this Notice, provide a list of the names, mailing addresses,
   and, if available, email addresses, of all such beneficial owners to Baxter International Inc. Securities Litigation,
   c/o Epiq Class Action & Claims Solutions, Inc., P.O. Box 5594, Portland, OR 97228‑5594. If you choose the
   second option, the Claims Administrator will send a copy of the Notice Packet to the beneficial owners. Upon full
   compliance with these directions, such nominees may seek reimbursement of their reasonable expenses actually
   incurred, by providing the Claims Administrator with proper documentation supporting the expenses for which
   reimbursement is sought. Copies of this Notice and the Claim Form may be obtained from the Settlement website,
   www.BaxterSecuritiesLitigation.com, or from Lead Counsel’s websites, www.blbglaw.com and www.ktmc.com,
   by calling the Claims Administrator toll‑free at 1‑855‑654‑0873, or by emailing the Claims Administrator at
   info@BaxterSecuritiesLitigation.com.

                                        CAN I SEE THE COURT FILE?
                                WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?
              66.    This Notice contains only a summary of the terms of the Settlement. For the full terms and conditions
    of the Settlement, please see the Stipulation available at www.BaxterSecuritiesLitigation.com. More detailed
    information about the matters involved in this Action can be obtained by accessing the Court docket in this case, for a
    fee, through the Court’s Public Access to Court Electronic Records (PACER) system at https://ecf.ilnd.uscourts.gov, or
    by visiting, during regular office hours, the Office of the Clerk, United States District Court for the Northern District
    of Illinois, Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, IL 60604.
                                  Questions? Visit www.BaxterSecuritiesLitigation.com
AD31611 v.09                                       or call 1-855-654-0873.
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    Additionally, copies of any related orders entered by the Court and certain other filings in this Action will be posted
    on the Settlement website, www.BaxterSecuritiesLitigation.com.
                            All inquiries concerning this Notice and the Claim Form should be directed to:
                                       Baxter International Inc. Securities Litigation
                                       c/o Epiq Class Action & Claims Solutions, Inc.
                                                       P.O. Box 5594
                                                 Portland, OR 97228‑5594
                                                      1‑855‑654‑0873
                                            info@BaxterSecuritiesLitigation.com
                                            www.BaxterSecuritiesLitigation.com
                                                            and/or

                            James A. Harrod, Esq.                              Sharan Nirmul, Esq.
                 Bernstein Litowitz Berger & Grossmann LLP             Kessler Topaz Meltzer & Check, LLP
                         1251 Avenue of the Americas                        280 King of Prussia Road
                            New York, NY 10020                                  Radnor, PA 19087
                 PLEASE DO NOT CALL OR WRITE THE COURT, THE CLERK’S OFFICE,
                   DEFENDANTS, OR DEFENDANTS’ COUNSEL REGARDING THIS NOTICE.

          Dated: May 19, 2021                                         By Order of the Court
                                                                      United States District Court
                                                                      Northern District of Illinois




                                 Questions? Visit www.BaxterSecuritiesLitigation.com
AD31612 v.09                                   or call 1-855-654-0873.
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                                                              APPENDIX A
                      Proposed Plan of Allocation of Net Settlement Fund Among Authorized Claimants
             1.     The Plan of Allocation set forth herein is the plan that is being proposed to the Court for
    approval by Lead Plaintiffs after consultation with their damages consultant. The Court may approve the Plan
    of Allocation with or without modification, or approve another plan of allocation, without further notice to the
    Settlement Class. Any Orders regarding a modification to the Plan of Allocation will be posted on the website
    www.BaxterSecuritiesLitigation.com. Defendants have had, and will have, no involvement or responsibility for
    the terms or application of the Plan of Allocation.
              2.     The objective of the Plan of Allocation is to equitably distribute the Net Settlement Fund among
    those Settlement Class Members who suffered economic losses as a result of the alleged violations of the federal
    securities laws set forth in the Class Action Complaint and Demand for Jury Trial filed on June 25, 2020, as
    opposed to economic losses caused by market or industry factors or company‑specific factors unrelated thereto. To
    that end, Lead Plaintiffs’ damages consultant calculated the estimated amount of alleged artificial inflation in the
    per share price of Baxter common stock over the course of the Class Period that was allegedly proximately caused
    by Defendants’ alleged materially false and misleading misrepresentations and omissions.
              3.     Calculations made pursuant to the Plan of Allocation do not represent a formal damages analysis
    that has been adjudicated in the Action and are not intended to measure the amounts that Settlement Class Members
    would recover after a trial. Nor are these calculations intended to be estimates of the amounts that will be paid
    to Authorized Claimants pursuant to the Settlement. The computations under the Plan of Allocation are only a
    method to weigh the claims of Authorized Claimants against one another for the purposes of making pro rata
    allocations of the Net Settlement Fund.
             4.    For losses to be compensable damages under the federal securities laws, the disclosure of the
    allegedly misrepresented information must be the cause of the decline in the price of the security. Accordingly,
    to have a “Recognized Loss Amount” pursuant to the Plan of Allocation, a person or entity must have purchased
    or otherwise acquired Baxter common stock during the Class Period (i.e., from February 21, 2019 through
    October 23, 2019, inclusive) and held such Baxter common stock through the alleged corrective disclosure on
    October 24, 2019 that removed the alleged artificial inflation related to that information.
                                      CALCULATION OF RECOGNIZED LOSS AMOUNTS
              5.     For purposes of calculating a Claimant’s “Recognized Claim” under the Plan of Allocation,
    purchases, acquisitions, and sales of Baxter common stock will first be matched on a First In, First Out (“FIFO”)
    basis as set forth in ¶ 9 below.
               6.     A “Recognized Loss Amount” will be calculated as set forth below for each share of Baxter
    common stock purchased or otherwise acquired from February 21, 2019 through October 23, 2019, inclusive, that
    is listed in the Claim Form and for which adequate documentation is provided. To the extent that the calculation
    of a Claimant’s Recognized Loss Amount results in a negative number, that number shall be set to zero. The sum
    of a Claimant’s Recognized Loss Amounts for all purchases or acquisitions of Baxter common stock during the
    Class Period will be the Claimant’s “Recognized Claim.”
                 7.      A Claimant’s Recognized Loss Amount will be calculated as follows:
                         a. For each share of Baxter common stock purchased or otherwise acquired during the Class
                            Period and subsequently sold prior to the opening of trading on October 24, 2019 (the date of
                            the alleged corrective disclosure), the Recognized Loss Amount is $0.
                         b. For each share of Baxter common stock purchased or otherwise acquired during the Class
                            Period and subsequently sold after the opening of trading on October 24, 2019, and prior to the
                            opening of trading on October 25, 2019, the Recognized Loss Amount shall be the lesser of:
                                 i.   $8.72 per share (the amount of alleged artificial inflation removed from the price of
                                      Baxter common stock on October 24, 2019);
                                 ii. the actual purchase/acquisition price of each share (excluding taxes, commissions,
                                     and fees) minus $79.08, the closing price of Baxter common stock on
                                     October 24, 2019; or the Out of Pocket Loss, calculated as the actual
                                     purchase/acquisition price per share (excluding taxes, commissions, and fees) minus
                                     the actual sale price per share (excluding taxes, commissions, and fees).2
    2
     To the extent that the calculation of an Out of Pocket Loss results in a negative number reflecting a gain on the transaction, that number
    shall be set to zero.
                                      Questions? Visit www.BaxterSecuritiesLitigation.com
AD31613 v.09                                        or call 1-855-654-0873.
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                       c. For each share of Baxter common stock purchased or otherwise acquired during the Class
                          Period and subsequently sold after the opening of trading on October 25, 2019, and before the
                          close of trading on January 21, 2020,3 the Recognized Loss Amount shall be the lesser of:
                                 i.   $10.81 per share (the amount of alleged artificial inflation removed from the price of
                                      Baxter common stock on October 24 and October 25, 2019);
                                 ii. the actual purchase/acquisition price of each share (excluding taxes, commissions,
                                     and fees) minus the 90‑day Look‑Back Value on the date of the sale as set forth in
                                     Table 1 below; or
                                 iii. the Out of Pocket Loss, calculated as the actual purchase/acquisition price per share
                                      (excluding taxes, commissions, and fees) minus the actual sale price per share
                                      (excluding taxes, commissions, and fees).
                       d. For each share of Baxter common stock purchased or otherwise acquired during the Class
                          Period and held as of the close of trading on January 21, 2020 (i.e., the last day of the 90‑day
                          Look‑Back Period), the Recognized Loss Amount shall be the lesser of:
                                 i.   $10.81 per share (the dollar amount of alleged artificial inflation); or
                                 ii. the actual purchase/acquisition price of each share (excluding taxes, commissions,
                                     and fees) minus $82.65 (the average closing price of Baxter common stock during the
                                     90‑day Look‑Back Period, as shown on the last line in Table 1 below).
                                                     ADDITIONAL PROVISIONS
           8.     The Net Settlement Fund will be allocated among all Authorized Claimants whose Distribution
    Amount (defined in ¶ 13 below) is $10.00 or greater.
             9.     If a Settlement Class Member has more than one purchase/acquisition or sale of Baxter common
    stock during the Class Period, all purchases/acquisitions and sales shall be matched on a FIFO basis. Class Period
    sales will be matched first against any holdings of Baxter common stock at the beginning of the Class Period, and
    then against purchases/acquisitions of Baxter common stock, in chronological order, beginning with the earliest
    purchase/acquisition made during the Class Period.
             10.    Purchases/acquisitions and sales of Baxter common stock shall be deemed to have occurred on
    the “contract” or “trade” date as opposed to the “settlement” or “payment” date. The receipt or grant by gift,
    inheritance or operation of law of Baxter common stock during the Class Period, shall not be deemed a purchase,
    acquisition, or sale of the Baxter common stock for the calculation of an Authorized Claimant’s Recognized
    Claim, nor shall the receipt or grant be deemed an assignment of any claim relating to the purchase/acquisition of
    such Baxter common stock unless (i) the donor or decedent purchased or otherwise acquired such Baxter common
    stock during the Class Period; (ii) no Claim Form was submitted by or on behalf of the donor, on behalf of the
    decedent, or by anyone else with respect to such Baxter common stock; and (iii) it is specifically so provided in
    the instrument of gift or assignment.




    3
      January 21, 2020 represents the last day of the 90‑day period following the end of the Class Period, i.e., the period of October 24, 2019
    through January 21, 2020 (the “90‑day Look‑Back Period”). The PSLRA imposes a statutory limitation on recoverable damages using the
    90‑day Look‑Back Period. This limitation is incorporated into the calculation of a Settlement Class Member’s Recognized Loss Amount.
    Specifically, a Settlement Class Member’s Recognized Loss Amount cannot exceed the difference between the purchase price paid for the
    Baxter common stock and the average price of Baxter common stock during the 90‑day Look‑Back Period if the Baxter common stock
    was held through January 21, 2020, the end of this period. Losses on Baxter common stock purchased/acquired during the period from
    February 21, 2019 through October 23, 2019, inclusive, and sold during the 90‑day Look‑Back Period cannot exceed the difference between
    the purchase price paid for the Baxter common stock and the average price of Baxter common stock during the portion of the 90‑day
    Look‑Back Period elapsed as of the date of sale (the “90‑day Look‑Back Value”), as set forth in Table 1 below.
                                      Questions? Visit www.BaxterSecuritiesLitigation.com
AD31614 v.09                                        or call 1-855-654-0873.
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             11.     The date of covering a “short sale” is deemed to be the date of purchase or acquisition of the
    Baxter common stock. The date of a “short sale” is deemed to be the date of sale of the Baxter common stock. In
    accordance with the Plan of Allocation, however, the Recognized Loss Amount on “short sales” is zero. In the
    event that a Claimant has an opening short position in Baxter common stock, the earliest purchases or acquisitions
    during the Class Period shall be matched against such opening short position and not be entitled to a recovery until
    that short position is fully covered.
             12.    Baxter common stock is the only security eligible for recovery under the Plan of Allocation. Option
    contracts to purchase or sell Baxter common stock also are not securities eligible to participate in the Settlement.
    With respect to Baxter common stock purchased or sold through the exercise of an option, the purchase/sale date
    of the Baxter common stock is the exercise date of the option and the purchase/sale price is the exercise price of
    the option. Any Recognized Loss Amount arising from purchases of Baxter common stock acquired during the
    Class Period through the exercise of an option on Baxter common stock4 shall be computed as provided for other
    purchases of Baxter common stock in the Plan of Allocation.
              13.    The Net Settlement Fund will be distributed to Authorized Claimants on a pro rata basis based
    on the relative size of their Recognized Claims. Specifically, a “Distribution Amount” will be calculated for each
    Authorized Claimant, which will be the Authorized Claimant’s Recognized Claim divided by the total Recognized
    Claims of all Authorized Claimants, multiplied by the total amount in the Net Settlement Fund. If any Authorized
    Claimant’s Distribution Amount calculates to less than $10.00, it will not be included in the calculation and no
    distribution will be made to that Authorized Claimant.
             14.     After the initial distribution of the Net Settlement Fund, the Claims Administrator will make
    reasonable and diligent efforts to have Authorized Claimants cash their distribution checks. To the extent any
    monies remain in the Net Settlement Fund after the initial distribution, if Lead Counsel, in consultation with the
    Claims Administrator, determine that it is cost‑effective to do so, the Claims Administrator, no less than seven
    (7) months after the initial distribution, will conduct a re‑distribution of the funds remaining after payment of
    any unpaid fees and expenses incurred in administering the Settlement, including for such re‑distribution, to
    Authorized Claimants who have cashed their initial distributions and who would receive at least $10.00 from
    such re‑distribution. Additional re‑distributions to Authorized Claimants who have cashed their prior checks and
    who would receive at least $10.00 on such additional re‑distributions may occur thereafter if Lead Counsel, in
    consultation with the Claims Administrator, determine that additional re‑distributions, after the deduction of any
    additional fees and expenses incurred in administering the Settlement, including for such re‑distributions, would
    be cost‑effective. At such time as it is determined that the re‑distribution of funds remaining in the Net Settlement
    Fund is not cost‑effective, the remaining balance will be contributed to non‑sectarian, not‑for‑profit, 501(c)(3)
    organization(s), to be recommended by Lead Counsel and approved by the Court.
              15.   Payment pursuant to the Plan of Allocation, or such other plan of allocation as may be approved
    by the Court, will be conclusive against all Claimants. No person shall have any claim against Lead Plaintiffs,
    Plaintiffs’ Counsel, Lead Plaintiffs’ damages consultant, Defendants, Defendants’ Counsel, or any of the other
    Releasees, or the Claims Administrator or other agent designated by Lead Counsel arising from distributions
    made substantially in accordance with the Stipulation, the plan of allocation approved by the Court, or
    further Orders.




    4
     This includes (1) purchases of Baxter common stock as the result of the exercise of a call option, and (2) purchases of Baxter common stock
    by the seller of a put option as a result of the buyer of such put option exercising that put option.
                                      Questions? Visit www.BaxterSecuritiesLitigation.com
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                                                       Table 1
                                     Baxter Common Stock 90‑Day Look‑Back Value
                                               by Sale/Disposition Date

                                          90‑Day                                     90‑Day
                      Sale Date                                  Sale Date
                                      Look‑Back Value                            Look‑Back Value

                      10/24/2019           $79.08                12/6/2019               $80.14
                      10/25/2019           $78.18                12/9/2019               $80.18
                      10/28/2019           $78.07               12/10/2019               $80.25
                      10/29/2019           $78.02               12/11/2019               $80.33
                      10/30/2019           $77.79               12/12/2019               $80.42
                      10/31/2019           $77.61               12/13/2019               $80.52
                       11/1/2019           $77.65               12/16/2019               $80.61
                       11/4/2019           $77.67               12/17/2019               $80.68
                       11/5/2019           $77.65               12/18/2019               $80.75
                       11/6/2019           $77.72               12/19/2019               $80.79
                       11/7/2019           $77.75               12/20/2019               $80.83
                       11/8/2019           $77.81               12/23/2019               $80.92
                      11/11/2019           $77.89               12/24/2019               $81.01
                      11/12/2019           $78.05               12/26/2019               $81.08
                      11/13/2019           $78.24               12/27/2019               $81.15
                      11/14/2019           $78.40               12/30/2019               $81.20
                      11/15/2019           $78.57               12/31/2019               $81.25
                      11/18/2019           $78.72                1/2/2020                $81.35
                      11/19/2019           $78.87                1/3/2020                $81.43
                      11/20/2019           $79.03                1/6/2020                $81.51
                      11/21/2019           $79.18                1/7/2020                $81.59
                      11/22/2019           $79.31                1/8/2020                $81.68
                      11/25/2019           $79.43                1/9/2020                $81.78
                      11/26/2019           $79.54               1/10/2020                $81.85
                      11/27/2019           $79.65               1/13/2020                $81.99
                      11/29/2019           $79.74               1/14/2020                $82.12
                      12/2/2019            $79.82               1/15/2020                $82.25
                      12/3/2019            $79.86               1/16/2020                $82.38
                      12/4/2019            $79.95               1/17/2020                $82.51
                      12/5/2019            $80.04               1/21/2020                $82.65




                                   Questions? Visit www.BaxterSecuritiesLitigation.com
AD31616 v.09                                     or call 1-855-654-0873.
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                                      Baxter International Inc. Securities Litigation
                                     c/o Epiq Class Action & Claims Solutions, Inc.
                                                      P.O. Box 5594
                                                Portland, OR 97228-5594
                                                 Toll-Free Number: 1-855-654-0873
                                             Email: info@BaxterSecuritiesLitigation.com
                                             Website: www.BaxterSecuritiesLitigation.com


                                     PROOF OF CLAIM AND RELEASE FORM
   To be eligible to receive a share of the Net Settlement Fund in connection with the proposed Settlement, you must
   complete and sign this Proof of Claim and Release Form (“Claim Form”) and mail it by first-class mail to the
   above address, or submit it online at www.BaxterSecuritiesLitigation.com, postmarked (or received) no later than
   September 16, 2021.

   Failure to submit your Claim Form by the date specified will subject your claim to rejection and may preclude you
   from being eligible to recover any money in connection with the proposed Settlement.

   Do not mail or deliver your Claim Form to the Court, the Parties to the Action, or their counsel.
   Submit your Claim Form only to the Claims Administrator at the address set forth above, or online at
   www.BaxterSecuritiesLitigation.com.

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                                        PART I – GENERAL INSTRUCTIONS

          1.        It is important that you completely read and understand the Notice of (I) Pendency of Class Action
   and Proposed Settlement; (II) Settlement Hearing; and (III) Motion for Attorneys’ Fees and Litigation Expenses
   (“Notice”) that accompanies this Claim Form, including the proposed Plan of Allocation set forth in the Notice
   (“Plan of Allocation”). The Notice describes the proposed Settlement, how Settlement Class Members are affected
   by the Settlement, and the manner in which the Net Settlement Fund will be distributed if the Settlement and Plan of
   Allocation are approved by the Court. The Notice also contains the definitions of many of the defined terms (which
   are indicated by initial capital letters) used in this Claim Form. By signing and submitting this Claim Form, you will
   be certifying that you have read and that you understand the Notice, including the terms of the Releases described
   therein and provided for herein.

          2.      This Claim Form is directed to all persons and entities who purchased or otherwise acquired
   Baxter International Inc. (“Baxter”) common stock during the Class Period (from February 21, 2019 through
   October 23, 2019, inclusive), and were damaged thereby (“Settlement Class”). Certain persons and entities are
   excluded from the Settlement Class by definition as set forth in ¶ 22 of the Notice.

          3.       By submitting this Claim Form, you are making a request to share in the proceeds of the Settlement
   described in the Notice. IF YOU ARE NOT A SETTLEMENT CLASS MEMBER (see definition of Settlement
   Class contained in ¶ 22 of the Notice), OR IF YOU SUBMITTED A REQUEST FOR EXCLUSION FROM
   THE SETTLEMENT CLASS, DO NOT SUBMIT A CLAIM FORM AS YOU MAY NOT, DIRECTLY OR
   INDIRECTLY, PARTICIPATE IN THE SETTLEMENT. THUS, IF YOU ARE EXCLUDED FROM THE
   SETTLEMENT CLASS, ANY CLAIM FORM THAT YOU SUBMIT, OR THAT MAY BE SUBMITTED ON
   YOUR BEHALF, WILL NOT BE ACCEPTED.

          4.         Submission of this Claim Form does not guarantee that you will share in the proceeds of the
   Settlement. The distribution of the Net Settlement Fund will be governed by the Plan of Allocation set forth in
   the Notice, if it is approved by the Court, or by such other plan of allocation as the Court approves.

          5.        Use the Schedule of Transactions in Part III of this Claim Form to supply all required details of your
   transaction(s) (including free transfers and deliveries) in and holdings of Baxter common stock. On this schedule,
   please provide all of the requested information with respect to your holdings, purchases, acquisitions, and sales of
   Baxter common stock, whether such transactions resulted in a profit or a loss. Failure to report all transaction and
   holding information during the requested time period may result in the rejection of your claim.

            6.     Please note: Only Baxter common stock purchased or otherwise acquired during the Class Period
   (i.e., from February 21, 2019 through October 23, 2019, inclusive) is eligible under the Settlement. However,
   pursuant to the “90-day Look-Back Period” (described in the Plan of Allocation set forth in the Notice), your sales
   of Baxter common stock during the period from October 24, 2019 through and including the close of trading on
   January 21, 2020 will be used for purposes of calculating loss amounts under the Plan of Allocation. Therefore, in
   order for the Claims Administrator to be able to balance your claim, the requested purchase information during
   the 90-day Look-Back Period must also be provided. Failure to report all transaction and holding information
   during the requested time periods may result in the rejection of your claim.

          7.      You are required to submit genuine and sufficient documentation for all of your transactions in
   and holdings of Baxter common stock set forth in the Schedule of Transactions in Part III of this Claim Form.
   Documentation may consist of copies of brokerage confirmation slips or monthly brokerage account statements,
   or an authorized statement from your broker containing the transactional and holding information found in a
   broker confirmation slip or account statement. The Parties and the Claims Administrator do not independently
   have information about your investments in Baxter common stock. IF SUCH DOCUMENTS ARE NOT IN YOUR
   POSSESSION, PLEASE OBTAIN COPIES OF THE DOCUMENTS OR EQUIVALENT DOCUMENTS FROM
   YOUR BROKER. FAILURE TO SUPPLY THIS DOCUMENTATION MAY RESULT IN THE REJECTION OF
   YOUR CLAIM. DO NOT SEND ORIGINAL DOCUMENTS. Please keep a copy of all documents that you
   send to the Claims Administrator. Also, do not highlight any portion of the Claim Form or any supporting
   documents.

           8.        All joint beneficial owners must sign this Claim Form and their names must appear as “Claimants”
   in Part II of this Claim Form. The complete name(s) of the beneficial owner(s) must be entered. If you purchased
   or otherwise acquired Baxter common stock during the Class Period and held the shares in your name, you are the
   beneficial owner as well as the record owner. If you purchased or otherwise acquired Baxter common stock during
   the Class Period and the shares were registered in the name of a third party, such as a nominee or brokerage firm, you
   are the beneficial owner of these shares, but the third party is the record owner. The beneficial owner, not the record
   owner, must sign this Claim Form.


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           9.       One Claim should be submitted for each separate legal entity or separately managed account.
   Separate Claim Forms should be submitted for each separate legal entity (e.g., an individual should not combine his
   or her IRA transactions with transactions made solely in the individual’s name). Generally, a single Claim Form
   should be submitted on behalf of one legal entity including all holdings and transactions made by that entity on one
   Claim Form. However, if a single person or legal entity had multiple accounts that were separately managed, separate
   Claims may be submitted for each such account. The Claims Administrator reserves the right to request information
   on all the holdings and transactions in Baxter common stock made on behalf of a single beneficial owner.

         10.       Agents, executors, administrators, guardians, and trustees must complete and sign the Claim Form
   on behalf of persons represented by them, and they must:

                     (a) expressly state the capacity in which they are acting;

                     (b) identify the name, account number, last four digits of the Social Security Number (or Taxpayer
                         Identification Number), address, and telephone number of the beneficial owner of (or other
                         person or entity on whose behalf they are acting with respect to) the Baxter common stock; and

                     (c) furnish herewith evidence of their authority to bind to the Claim Form the person or entity on
                         whose behalf they are acting. (Authority to complete and sign a Claim Form cannot be established
                         by stockbrokers demonstrating only that they have discretionary authority to trade securities in
                         another person’s accounts.)

           11.       By submitting a signed Claim Form, you will be swearing to the truth of the statements contained
   therein and the genuineness of the documents attached thereto, subject to penalties of perjury under the laws of the
   United States of America. The making of false statements, or the submission of forged or fraudulent documentation,
   will result in the rejection of your claim and may subject you to civil liability or criminal prosecution.

            12.      If the Court approves the Settlement, payments to eligible Authorized Claimants pursuant to the Plan
   of Allocation (or such other plan of allocation as the Court approves) will be made after any appeals are resolved,
   and after the completion of all claims processing. The claims process will take substantial time to complete fully and
   fairly. Please be patient.

          13.        PLEASE NOTE: As set forth in the Plan of Allocation, each Authorized Claimant shall receive
   his, her, or its pro rata share of the Net Settlement Fund. If the prorated payment to any Authorized Claimant
   calculates to less than $10.00, it will not be included in the calculation and no distribution will be made to that
   Authorized Claimant.

           14.      If you have questions concerning the Claim Form, or need additional copies of the Claim Form or
   a copy of the Notice, you may contact the Claims Administrator, Epiq Class Action & Claims Solutions, Inc., at the
   above address, by email at info@BaxterSecuritiesLitigation.com, or by toll-free phone at 1-855-654-0873, or you can
   visit the website for the Settlement maintained by the Claims Administrator, www.BaxterSecuritiesLitigation.com,
   where copies of the Claim Form and Notice are available for downloading.

          15.      NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of
   transactions may request, or may be requested, to submit information regarding their transactions in electronic files.
   To obtain the mandatory electronic filing requirements and file layout, you may visit the website for the Settlement,
   www.BaxterSecuritiesLitigation.com, or you may email the Claims Administrator’s electronic filing department
   at info@BaxterSecuritiesLitigation.com. Any file that is not in accordance with the required electronic filing
   format will be subject to rejection. No electronic files will be considered to have been properly submitted unless
   the Claims Administrator issues an email to you to that effect. Do not assume that your file has been received
   until you receive this email. If you do not receive such an email within 10 days of your submission, you should
   contact the Claims Administrator’s electronic filing department at info@BaxterSecuritiesLitigation.com to
   inquire about your file and confirm it was received.

                                              IMPORTANT PLEASE NOTE:

   YOUR CLAIM IS NOT DEEMED SUBMITTED UNTIL YOU RECEIVE AN ACKNOWLEDGEMENT
   POSTCARD. THE CLAIMS ADMINISTRATOR WILL ACKNOWLEDGE RECEIPT OF YOUR CLAIM
   FORM BY MAIL WITHIN 60 DAYS. IF YOU DO NOT RECEIVE AN ACKNOWLEDGEMENT POSTCARD
   WITHIN 60 DAYS, CALL THE CLAIMS ADMINISTRATOR TOLL FREE AT 1-855-654-0873.




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                                            PART II – CLAIMANT IDENTIFICATION

   Please complete this PART II in its entirety. The Claims Administrator will use this information for all
   communications regarding this Claim Form. If this information changes, you MUST notify the Claims
   Administrator in writing at the address above.
    Beneficial Owner’s First Name                                     MI        Beneficial Owner’s Last Name


    Co-Beneficial Owner’s First Name                                  MI        Co-Beneficial Owner’s Last Name


    Entity Name (if Beneficial Owner is not an individual)


    Representative or Custodian Name (if different from Beneficial Owner[s] listed above)


    Address 1 (street name and number)


    Address 2 (apartment, unit, or box number)


    City                                                                                                 State         ZIP Code


    Country


    Last four digits of Social Security Number or Taxpayer Identification Number


    Telephone Number (home)                                  Telephone Number (work)
                  –                –                                        –                –
    Email Address (Email address is not required, but if you provide it you authorize the Claims Administrator to use it in
    providing you with information relevant to this claim.)


    Account Number (where securities were traded)1



   Claimant Account Type (check appropriate box)
         Individual (includes joint owner accounts)                   Pension Plan                             Trust
         Corporation                                                 Estate
           IRA/401(k)                                                Other                                       (please specify)




   1
    If the account number is unknown, you may leave blank. If filing for more than one account for the same legal entity you may write
   “multiple.” Please see ¶ 9 of the General Instructions above for more information on when to file separate Claim Forms for multiple accounts.



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AD3174 v.10                                                             4
                     Case: 1:19-cv-07786PART
                                         Document   #: 66-3 Filed:
                                             III – SCHEDULE        07/06/21 Page 28
                                                               OF TRANSACTIONS    INof 38 PageID #:2024
                                       BAXTER INTERNATIONAL INC COMMON STOCK
Complete this Part III if and only if you purchased or otherwise acquired Baxter common stock during the period from
February 21, 2019 through October 23, 2019, inclusive. Please be sure to include proper documentation with your Claim Form as described
in detail in Part I – General Instructions, ¶ 7, above. Do not include information regarding securities other than Baxter common stock.
 1. HOLDINGS AS OF FEBRUARY 21, 2019 – State the total number of shares of Baxter common stock Confirm Proof of
 held as of the opening of trading on February 21, 2019. (Must be documented.) If none, write “zero” or “0.”            Holding Position
                                                                                                                                        Enclosed

    2. PURCHASES/ACQUISITIONS FROM FEBRUARY 21, 2019 THROUGH OCTOBER 23, 2019, INCLUSIVE –
    Separately list each and every purchase/acquisition (including free receipts) of Baxter common stock from after the opening
    of trading on February 21, 2019 through and including the close of trading on October 23, 2019. (Must be documented.)
         Date of Purchase/                                                                                                                Confirm Proof
            Acquisition          Number of Shares                                                      Total Purchase/                    of Purchases/
      (List Chronologically)       Purchased/              Purchase/Acquisition                       Acquisition Price                    Acquisitions
        (Month/Day/Year)            Acquired                 Price Per Share               (excluding taxes, commissions, and fees)         Enclosed

                                                                       ●                                                   ●

                                                                       ●                                                   ●

                                                                       ●                                                   ●

                                                                       ●                                                   ●

                                                                       ●                                                   ●
    3. PURCHASES/ACQUISITIONS FROM OCTOBER 24, 2019 THROUGH JANUARY 21, 2020,
    INCLUSIVE – State the total number of shares of Baxter common stock purchased/acquired (including free receipts)
    from after the opening of trading on October 24, 2019 through and including the close of trading on January 21, 2020.
    (Must be documented.) If none, write “zero” or “0.”2


    4. SALES FROM FEBRUARY 21, 2019 THROUGH JANUARY 21, 2020, INCLUSIVE – Separately                         IF NONE,
    list each and every sale/disposition (including free deliveries) of Baxter common stock from after the CHECK HERE
    opening of trading on February 21, 2019 through and including the close of trading on January 21, 2020.
    (Must be documented.)
            Date of Sale                                                                                                                  Confirm Proof
      (List Chronologically)        Number of                                                          Total Sale Price                      of Sales
        (Month/Day/Year)            Shares Sold             Sale Price Per Share         (not deducting taxes, commissions, and fees)       Enclosed

                                                                       ●                                                   ●

                                                                       ●                                                   ●

                                                                       ●                                                   ●

                                                                       ●                                                   ●

                                                                       ●                                                   ●
    5. HOLDINGS AS OF JANUARY 21, 2020 – State the total number of shares of Baxter common stock Confirm Proof of
    held as of the close of trading on January 21, 2020. (Must be documented.) If none, write “zero” or “0.” Holding Position
                                                                                                                                        Enclosed


    IF YOU REQUIRE ADDITIONAL SPACE FOR THE SCHEDULE ABOVE, ATTACH EXTRA SCHEDULES IN THE
    SAME FORMAT. PRINT THE BENEFICIAL OWNER’S FULL NAME AND LAST FOUR DIGITS OF SOCIAL
    SECURITY/TAXPAYER IDENTIFICATION NUMBER ON EACH ADDITIONAL PAGE. IF YOU DO ATTACH
    EXTRA SCHEDULES, CHECK THIS BOX
2
  Please note: Information requested with respect to your purchases/acquisitions of Baxter common stock from after the opening of trading on
October 24, 2019 through and including the close of trading on January 21, 2020 is needed in order to perform the necessary calculations for your claim;
purchases/acquisitions during this period, however, are not eligible transactions and will not be used for purposes of calculating Recognized Loss Amounts
pursuant to the Plan of Allocation.

       05-CA40048824
       AD3175 v.10                                                          5
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                                 PART IV - RELEASE OF CLAIMS AND SIGNATURE

   YOU MUST ALSO READ THE RELEASE AND CERTIFICATION BELOW AND SIGN ON PAGE 7 OF
   THIS CLAIM FORM.

   I (we) hereby acknowledge that, pursuant to the terms set forth in the Stipulation and Agreement of Settlement dated
   April 1, 2021, without further action by anyone, upon the Effective Date of the Settlement, I (we), on behalf of myself
   (ourselves) and my (our) heirs, executors, administrators, predecessors, successors, and assigns, in their capacities
   as such, shall be deemed to have, and by operation of law and of the Judgment shall have, fully, finally, and forever
   compromised, settled, released, resolved, relinquished, waived, and discharged each and every Released Plaintiffs’
   Claim against Defendants and the other Defendants’ Releasees, and shall permanently and forever be barred and
   enjoined from prosecuting, attempting to prosecute, or assisting others in the prosecution of any or all of the Released
   Plaintiffs’ Claims against any of the Defendants’ Releasees.

                                                       CERTIFICATION

   By signing and submitting this Claim Form, the claimant(s) or the person(s) who represent(s) the claimant(s) agree(s)
   to the release above and certifies (certify) as follows:

         1.       that I (we) have read and understand the contents of the Notice and this Claim Form, including the
   Releases provided for in the Settlement and the terms of the Plan of Allocation;

          2.       that the claimant(s) is a (are) member(s) of the Settlement Class, as defined in the Notice, and is (are)
   not excluded by definition from the Settlement Class as set forth in the Notice;

              3.     that the claimant(s) has (have) not submitted a request for exclusion from the Settlement Class;

          4.       that I (we) own(ed) the Baxter common stock identified in the Claim Form and have not assigned the
   claim against Defendants or any of the other Defendants’ Releasees to another, or that, in signing and submitting this
   Claim Form, I (we) have the authority to act on behalf of the owner(s) thereof;

          5.     that the claimant(s) has (have) not submitted any other claim covering the same purchases/acquisitions
   of Baxter common stock and knows (know) of no other person having done so on the claimant’s (claimants’) behalf;

          6.       that the claimant(s) submit(s) to the jurisdiction of the Court with respect to the claimant’s (claimants’)
   claim and for purposes of enforcing the Releases set forth herein;

         7.        that I (we) agree to furnish such additional information with respect to this Claim Form as Lead
   Counsel, the Claims Administrator, or the Court may require;

          8.       that the claimant(s) waive(s) the right to trial by jury, to the extent it exists, agree(s) to the determination
   by the Court of the validity or amount of this Claim and waives any right of appeal or review with respect to such
   determination;

         9.        that I (we) acknowledge that the claimant(s) will be bound by and subject to the terms of any
   judgment(s) that may be entered in the Action; and

            10.      that the claimant(s) is (are) NOT subject to backup withholding under the provisions of Section
   3406(a)(1)(C) of the Internal Revenue Code because (a) the claimant(s) is (are) exempt from backup withholding or
   (b) the claimant(s) has (have) not been notified by the IRS that he/she/it/they is (are) subject to backup withholding
   as a result of a failure to report all interest or dividends or (c) the IRS has notified the claimant(s) that he/she/it/they
   is (are) no longer subject to backup withholding. If the IRS has notified the claimant(s) that he/she/it/they is (are)
   subject to backup withholding, please strike out the language in the preceding sentence indicating that the
   claim is not subject to backup withholding in the certification above.




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AD3176 v.10                                                       6
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   UNDER THE PENALTIES OF PERJURY, I (WE) CERTIFY THAT ALL OF THE INFORMATION PROVIDED
   BY ME (US) ON THIS CLAIM FORM IS TRUE, CORRECT, AND COMPLETE, AND THAT THE DOCUMENTS
   SUBMITTED HEREWITH ARE TRUE AND CORRECT COPIES OF WHAT THEY PURPORT TO BE.
                                                                                  Date          –          –
    Signature of claimant
                                                                                         MM          DD        YY

              Print claimant
                  name here

         Signature of joint                                                       Date          –          –
           claimant, if any                                                              MM          DD        YY

       Print joint claimant
                 name here
   If the claimant is other than an individual, or is not the person completing this form, the following also must be
   provided:
      Signature of person                                                         Date          –          –
      signing on behalf of
                 claimant                                                                MM          DD        YY
     Print name of person
      signing on behalf of
             claimant here




   Capacity of person signing on behalf of claimant, if other than an individual, e.g., executor, president, trustee,
   custodian, etc. (Must provide evidence of authority to act on behalf of claimant – see ¶ 10 on page 3 of this
   Claim Form.)




07-CA40048824
AD3177 v.10                                                7
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                                              REMINDER CHECKLIST

   1. Sign the above release and certification. If this Claim Form is being made on behalf of joint claimants, then both
      must sign.

   2. Attach only copies of acceptable supporting documentation as these documents will not be returned to you.

   3. Do not highlight any portion of the Claim Form or any supporting documents.

   4. Keep copies of the completed Claim Form and any supporting documentation for your own records.

   5. The Claims Administrator will acknowledge receipt of your Claim Form by mail, within 60 days. Your claim is not
      deemed submitted until you receive an acknowledgement postcard. If you do not receive an acknowledgement
      postcard within 60 days, please call the Claims Administrator toll-free at 1-855-654-0873.

   6. If your address changes in the future, you must send the Claims Administrator written notification of your new
      address. If you change your name, inform the Claims Administrator.

   7. If you have any questions or concerns regarding your claim, please contact the Claims Administrator at the
      address below, by email at info@BaxterSecuritiesLitigation.com, or by toll-free phone at 1-855-654-0873 or you
      may visit www.BaxterSecuritiesLitigation.com. DO NOT call the Court, Defendants, or Defendants’ Counsel
      with questions regarding your claim.

   THIS CLAIM FORM MUST BE MAILED TO THE CLAIMS ADMINISTRATOR BY FIRST-CLASS MAIL,
   OR SUBMITTED ONLINE AT WWW.BAXTERSECURITIESLITIGATION.COM, POSTMARKED (OR
   RECEIVED) NO LATER THAN SEPTEMBER 16, 2021. IF MAILED, THE CLAIM FORM SHOULD BE
   ADDRESSED AS FOLLOWS:

                                     Baxter International Inc. Securities Litigation
                                    c/o Epiq Class Action & Claims Solutions, Inc.
                                                     P.O. Box 5594
                                               Portland, OR 97228-5594

           If mailed, a Claim Form received by the Claims Administrator shall be deemed to have been submitted when
   posted, if a postmark date on or before September 16, 2021, is indicated on the envelope and it is mailed First Class,
   and addressed in accordance with the above instructions. In all other cases, a Claim Form shall be deemed to have
   been submitted when actually received by the Claims Administrator.

           You should be aware that it will take a significant amount of time to fully process all of the Claim Forms.
   Please be patient and notify the Claims Administrator of any change of address.




08-CA40048824
AD3178 v.10                                                  8
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                           Exhibit B
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                CONFIRMATION OF PUBLICATION

IN THE MATTER OF: Baxter Securities


I, Kathleen Komraus, hereby certify that

       (a) I am the Media & Design Manager at Epiq Class Action & Claims Solutions, a noticing
       administrator, and;
       (b) The Notice of which the annexed is a copy was published in the following publications
       on the following dates:



                            6.1.2021 – Wall Street Journal
                            6.1.2021 – PR Newswire




X_____________________________________________
                  (Signature)

Media & Design Manager
_____________________________________________
                  (Title)
P2JW152000-0-B00600-1--------CR
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    B6 | Tuesday, June 1, 2021                                                                                                                                                                                                                                                  THE WALL STREET JOURNAL.

                                                                                                                                         CLOSED‑END FUNDS
    Listed are the 300 largest closed-end funds as                                                            52 wk                                                  52 wk                                       Prem12 Mo                                              Prem12 Mo                                           Prem12 Mo
    measured by assets. Closed-end funds sell a limited                                             Prem         Ttl                                       Prem         Ttl    Fund (SYM)              NAV Close /Disc Yld           Fund (SYM)               NAV Close /Disc Yld         Fund (SYM)              NAV Close /Disc Yld
    number of shares and invest the proceeds in securities.      Fund (SYM)               NAV Close /Disc       Ret      Fund (SYM)              NAV Close /Disc       Ret
    Unlike open-end funds, closed-ends generally do not                                                                                                                        WstAstEmergDebt EMD NA 13.97 NA                 8.3   Nuveen CA Val NCA 10.87 10.54            -3.0 3.0    Schrdrs Opp Inc;SDR 26.56 NA NA 2.8
    buy their shares back from investors who wish to cash        Nuv Real Est JRS             11.43 10.69 -6.5    54.7   Eagle Point Credit ECC NA 13.28 NA 7.6                Western Asset Gl Cr D Op GDO NA 18.15 NA        6.7   NuveenCAQtyMuInc NAC 16.31 15.60         -4.4 4.2    Invesco Sr Loan A         6.52 NA NA 3.6
    in their holdings. Instead, fund shares trade on a stock
    exchange. NA signifies that the information is not           Nuveen Rl Asst Inc & Gro JRI 17.10 16.02 -6.3    52.2   EtnVncFltRteInc EFT NA 14.28 NA 5.1                   National Muni Bond Funds                              NuvNJ Qual Muni Inc NXJ 16.76 15.33      -8.5 4.5    Invesco Sr Loan C         6.53 NA NA 2.9
    available or not applicable. NS signifies funds not in       NuvS&P500DynOvFd SPXX NA 17.78 NA                46.2   EV SenFlRtTr EFR               NA 14.19 NA 5.5        AllBerNatlMunInc AFB 15.58 14.87 -4.6           4.3   Nuveen NY AMT/Fr Qual MI NRK 15.16 13.95 -8.0 4.1    Invesco Sr Loan IB        6.52 NA NA 3.8
    existence for the entire period. 12 month yield is
    computed by dividing income dividends paid (during           NuvSP500BuyIncFd BXMX 14.77 14.29 -3.2           37.6   EVSnrIncm EVF                  NA 6.76 NA 5.8         BlckRk Inv Q Mun BKN 16.72 19.20 +14.8          4.1   Nuveen NY Qual Muni Inc NAN 15.70 14.79  -5.8 4.3    Invesco Sr Loan IC        6.52 NA NA 3.6
    the previous 12 months for periods ending at month-          ReavesUtilityIncome UTG 34.13 34.88 +2.2         11.9   FT/Sr Fltg Rte Inc 2 FCT 12.70 12.60 -0.8 9.98        BlackRock Muni 2030 Tgt BTT 26.99 25.92 -4.0    2.8   Nuveen OH Qual Muni Inc NUO 17.68 16.26  -8.0 3.5    Invesco Sr Loan Y         6.52 NA NA 3.8
    end or during the previous 52 weeks for periods
    ending at any time other than month-end) by the              Tortoise Enrgy Infra Crp TYG 34.31 27.26 -20.5   54.8   FT/Sr Fltg Rte 2022 TgTr FIV 9.67 9.47 -2.1 2.1       BlackRock Muni BFK 14.81 15.17 +2.4             4.5   Nuveen PA Qual Muni Inc NQP 16.01 14.83  -7.4 4.5    Pioneer Sec Inc          10.02 NA NA 4.4
    latest month-end market price adjusted for capital           VAGIAI & Tech Opptys AIO 28.85 27.40 -5.0        62.6   Highland Income HFRO 13.75 11.91 -13.4 8.0            BlackRock Muni II BLE 15.17 15.36 +1.3          4.8   Nuveen VA Qlty Mun Inc NPV 15.48 16.13               High Yield Bond Funds
    gains distributions. Depending on the fund category,
                                                                                                                                                                                                                                                                              +4.2 3.4
                                                                 VDivInt&PremStr NFJ 16.23 14.52 -10.5            41.0   InvDYCrOpp VTA               12.27 11.75 -4.2 7.8     BlckRk Muni Inc Qly BYM 15.93 15.74 -1.2        4.0                                                        Griffin Inst Access Cd:A NA NA NA 5.9
    either 12-month yield or total return is listed.                                                                                                                                                                                 PIMCO CA PCQ                   NA 18.44   NA 4.3
                                                Source: Lipper   Income & Preferred Stock Funds                          InvSnrIncTr VVR               4.63 4.25 -8.2 6.0      BR MuniAssets Fd MUA 14.89 16.00 +7.5           4.1                                                        Griffin Inst Access Cd:C NA NA NA 5.9
                                                                                                                                                                                                                                     PIMCOCAMuniII PCK NA 9.21                 NA 4.2
                    Friday, May 28, 2021                         CalamosStratTot CSQ 17.44 17.73 +1.7             57.9                                                                                                                                                                    Griffin Inst Access Cd:F NA NA NA 5.9
                                                                                                                         Nuveen Credit Strat Inc JQC 7.00 6.56 -6.3 14.1       BR MuniHoldings Qly MFL 15.36 14.66 -4.6        3.9                                                52 wk
                                              52 wk              CohenStrsLtdDurPref&Inc LDP 26.07 26.77 +2.7     22.1                                                                                                                                                                    Griffin Inst Access Cd:I NA NA NA 5.9
                                                                                                                         NuvFloatRateIncFd JFR 10.42 9.61 -7.8 6.2             BR MH Qly 2 MUE              14.33 13.85 -3.3   4.4                                          Prem Ttl
                                         Prem Ttl                CohenStrsSelPref&Income PSF 26.87 29.66 +10.4    27.3                                                                                                               Fund (SYM)                NAV Close /Disc Ret        Griffin Inst Access Cd:L NA NA NA 5.9
                                                                                                                         NuvFloatRteIncOppty JRO 10.32 9.49 -8.0 6.2           BR MuniHoldngs MHD 17.37 16.68 -4.0             4.4
    Fund (SYM)                 NAV Close /Disc Ret                                                                                                                                                                                                                                        PIMCO Flexible Cr I;A-1 NA NA NA NS
                                                                 CohenStrsTaxAvPreSecs&I PTA 25.89 25.00 -3.4      NS    Nuveen Senior Income NSL 6.12 5.66 -7.5 6.7           BR MuniVest Fd MVF 9.99 9.50 -4.9               4.2   General Equity Funds
    General Equity Funds                                                                                                                                                                                                                                                                  PIMCO Flexible Cr I;A-2 NA NA NA 7.1
                                                                 FirstTrIntDurPref&Inc FPF 24.71 25.09 +1.5       27.8   High Yield Bond Funds                                 BR MuniVest 2 MVT 15.68 15.65 -0.2              4.5   Alternative Strategies:I 6.57 NA NA 51.0
    Adams Diversified Equity ADX 22.51 19.29 -14.3       39.0                                                                                                                                                                                                                             PIMCO Flexible Cr I;A-3 NA NA NA NS
                                                                 JHanPrefInc HPI              20.61 21.10 +2.4    18.1   AllianceBernGlHiIncm AWF 12.96 12.13 -6.4 6.5         BR MuniYield Fd MYD 15.34 15.07 -1.8            4.6   BOW RIVER CAPTL EVGN;I NA NA NA                  N
    Boulder Growth & Income BIF NA 13.77 NA              47.2                                                                                                                                                                                                                             PIMCO Flexible Cr I;A-4 NA NA NA 7.2
                                                                 JHPrefIncII HPF              20.34 20.89 +2.7    26.2   Barings Glb SD HY Bd BGH 17.74 16.59 -6.5 7.7         BR MuniYield Qlty MQY 16.62 16.59 -0.2          4.8   Specialized Equity Funds
    Central Secs CET              49.78 41.81 -16.0      53.0                                                                                                                                                                                                                             PIMCO Flexible Cr I;Inst NA NA NA 8.0
                                                                 HnckJPfdInco III HPS 18.16 18.96 +4.4            28.6   BR Corporate HY HYT 12.11 12.07 -0.3 7.7              BR MuniYld Qlty2 MQT 14.63 14.52 -0.8           4.4   Broadstone Rl Est Acc:I 6.29 NA NA 2.6
                                                                                                                                                                                                                                                                                          PionrILSBridge             NA NA NA 0.0
    CohenStrsCEOppFd FOF 14.05 14.07 +0.1                45.2    J Han Prm PDT                14.82 16.65 +12.3   32.7                                                         BR MuniYld Qly 3 MYI 15.44 14.67 -5.0           4.0   Broadstone Rl Est Acc:W 6.27 NA NA 2.2
                                                                                                                         BlackRock Ltd Dur Inc BLW 17.06 17.15 +0.5 6.9                                                                                                                   WA Middle Mkt Inc          NA NA NA 6.1
    EVTxAdvDivIncm EVT NA 28.29 NA                       57.3    LMP CapInco SCD                NA 14.08 NA       49.6                                                         BNY Mellon Muni Bd Infra DMB 14.74 14.87 +0.9   4.3   NexPointRlEstStrat;A 17.29 NA NA 24.0
                                                                                                                         BNY Mellon Hi Yield Str DHF 3.31 3.14 -5.1 8.1                                                                                                                   Other Domestic Taxable Bond Funds
    GabelliDiv&IncTr GDV 28.97 26.13 -9.8                56.7    Nuveen Pref & Inc Opp JPC 9.81 9.80 -0.1         24.5                                                         BNY Mellon Str Muni Bond DSM 8.44 8.16 -3.3     4.5   NexPointRlEstStrat;C 17.48 NA NA 23.1
                                                                                                                         Brookfield Real Asst Inc RA 20.43 21.73 +6.4 10.8                                                                                                                Alternative Credit Inc:A 11.09 NA NA 6.3
    Gabelli Equity Tr GAB 6.87 7.54 +9.8                 73.8    Nuveen Fd JPS                 9.81 9.90 +0.9     24.4                                                         BNY Mellon Strat Muni LEO 8.81 8.95 +1.6        4.8   NexPointRlEstStrat;Z 17.47 NA NA 24.3
                                                                                                                         CrSuisHighYld DHY             2.58 2.50 -3.1 8.0                                                                                                                 Alternative Credit Inc:C 11.21 NA NA 5.6
    GeneralAmer GAM 49.96 42.87 -14.2                    47.4    Nuveen Pref & Inc Term JPI 25.06 25.51 +1.8      29.3                                                         DWS Muni Inc KTF 12.84 12.06 -6.1                     PREDEX;I                    25.79 NA NA 4.1
                                                                                                                         DoubleLine Inc Sol DSL 18.34 18.30 -0.2 8.9                                                           4.1                                                        Alternative Credit Inc:I 11.12 NA NA 6.6
    JHancockTaxAdvDiv HTD 24.88 24.18 -2.8               32.1    Nuveen TxAdvDivGr JTD 17.66 16.13 -8.7           35.5                                                                                                               PREDEX;T                    25.92 NA NA 4.1
                                                                                                                         DoubleLine Yld Opps DLY 20.46 19.92 -2.6 7.0          EVMuniBd EIM                   NA 13.63 NA      4.4                                                        Alternative Credit Inc:L 11.09 NA NA 6.1
    Liberty All-Star Equity USA 7.99 8.38 +4.9           65.8    TCW Strat Income TSI NA 5.82 NA                                                                                                                                     PREDEX;W                    25.91 NA NA 4.0
                                                                                                                   8.4   First Tr Hi Inc Lng/Shrt FSD 16.46 15.34 -6.8 8.5     EVMuniIncm EVN                 NA 14.03 NA      4.1                                                        Alternative Credit Inc:W 11.08 NA NA 6.4
    Liberty All-Star Growth ASG 8.28 8.80 +6.3           62.2                                                                                                                                                                        Principal Dvs Sel RA A 27.35 NA NA 31.4
                                                                 Convertible Sec's. Funds                                                                                      EVNatMuniOpp EOT               NA 23.45 NA      3.3                                                        Am Beacon Apollo TR:T 10.11 NA NA 2.1
                                                                                                                         First Trust HY Opp:2027 FTHY 21.13 19.86 -6.0 NS                                                            Principal Dvs Sel RA Ins 27.42 NA NA 31.7
    Royce Micro-Cap Tr RMT 13.75 12.22 -11.1             89.2    AdvntCnvrtbl&IncFd AVK NA 19.49 NA               67.3                                                         InvAdvMuIncTrII VKI 12.32 12.22 -0.8            4.6                                                        Am Beacon Apollo TR:Y 10.22 NA NA 2.8
                                                                                                                         IVY HIGH INCOME OPP IVH 15.02 13.95 -7.1 7.8                                                                Principal Dvs Sel RA Y 27.52 NA NA 31.9
    Royce Value Trust RVT 21.35 19.15 -10.3              68.5    CalamosConvHi CHY 15.78 15.85 +0.4               60.4                                                         Invesco MuniOp OIA 7.90 8.18 +3.5               4.7                                                        Am Beacon SP Enh Inc:T 9.61 NA NA 4.0
                                                                                                                         KKR Income Opportunities KIO NA 16.48 NA 8.5                                                                The Private Shares;A 41.65 NA NA 37.9
    Source Capital SOR 49.38 45.45 -8.0                  45.3    CalmosConvOp CHI 14.96 14.91 -0.3                60.2                                                         InvescoMuOppTr VMO 13.79 13.67 -0.9             4.5                                                        Am Beacon SP Enh Inc:Y 9.74 NA NA 4.5
                                                                                                                         NexPointStratOppty NHF 20.47 13.41 -34.5 7.1                                                                The Private Shares;I 42.01 NA NA 38.3
    Tri-Continental TY            37.75 34.22 -9.4       46.9    VAGI Conv & Inc II NCZ 5.55 5.10 -8.1            51.2                                                         InvescoMuTr VKQ              13.82 13.71 -0.8   4.6                                                        Angel Oak Str Crdt:Inst 23.08 NA NA 8.1
                                                                                                                         Nuveen CI Nov 2021 Tgt JHB 9.46 9.42 -0.4 3.2                                                               The Private Shares;L 41.30 NA NA 37.6
    Specialized Equity Funds                                     VAGI Conv & Inc NCV 6.19 5.81 -6.1               49.7                                                         InvescoQual Inc IQI 13.90 13.33 -4.1            4.6   USQ Core Real Estate:I 25.11 NA NA 2.8               BR Credit Strat;A        10.53 NA NA 4.6
    Aberdeen Glb Prem Prop AWP 6.67 6.57 -1.5                                                                            Nuveen Crdt Opps 2022 TT JCO 8.29 8.64 +4.2 6.5                                                                                                                  BR Credit Strat;Inst 10.53 NA NA 5.3
                                                         56.8    VAGI Dvs Inc & Conv ACV 35.03 33.35 -4.8         58.1                                                         InvTrInvGrMu VGM 14.23 14.03 -1.4               4.6   USQ Core Real Estate:IS 25.12 NA NA 2.8
    Adams Natural Resources PEO 18.19 15.80 -13.1        52.3                                                            Nuveen Global High Inc JGH 17.01 15.88 -6.6 6.9                                                                                                                  BlackRock Mlt-Sctr Oppty 90.20 NA NA 7.6
                                                                 VAGI Eqty & Conv Inc NIE 32.09 29.05 -9.5        41.9                                                         InvescoValMunInc IIM 16.88 16.22 -3.9           4.5   Versus Cap MMgr RE Inc:I 28.05 NA NA NE
    ASA Gold & Prec Met Ltd ASA 28.31 24.31 -14.1        58.9                                                            PGIM Global High Yield GHY 16.68 15.51 -7.0 8.3                                                                                                                  BlackRock Mlt-Sec Opp II 93.12 NA NA 7.5
                                                                 World Equity Funds                                                                                            MAINSTAY:MKDEFTRMUNOP MMD NA 22.89 NA           4.5   Versus Capital Real Asst 26.01 NA NA 9.6
    BR Enh C&I CII                21.32 20.33 -4.6       49.9                                                            PGIM High Yield Bond ISD 17.15 16.18 -5.7 7.8                                                                                                                    Carlyle Tact Pvt Cred:A NA NA NA 6.9
                                                                 Aberdeen Emg Mkts Eq Inc AEF NA 8.94 NA          62.0                                                         NeubrgrBrm NBH               15.32 16.02 +4.6   4.4   Wildermuth Endwmnt:A 14.03 NA NA 5.0
    BlackRock Energy & Res BGR 9.94 9.42 -5.2            38.3                                                            PGIM Sh Dur Hi Yld Opp SDHY 19.93 18.55 -6.9 NS                                                             Wildermuth Endwmnt:C 13.46 NA NA 4.1                 Carlyle Tact Pvt Cred:I NA NA NA 7.5
                                                                 Aberdeen Tot Dyn Div AOD 11.19 10.09 -9.8        45.3                                                         Nuveen AMT-Fr Mu Val NUW 17.54 17.05 -2.8       2.7
    BlackRock Eq Enh Div BDJ 10.66 10.34 -3.0            51.7                                                            PioneerHilncm PHT             9.69 10.10 +4.2 7.7                                                           Wildermuth Endowment:I 14.12 NA NA 4.6               Carlyle Tact Pvt Cred:L NA NA NA 7.1
                                                                 BlackRock Capital Alloc BCAT 21.80 21.30 -2.3     NS                                                          Nuveen AMT-Fr Qlty Mun I NEA 16.05 15.29 -4.7   4.6
    BlackRock Enh Glbl Div BOE 13.35 12.41 -7.0          43.5                                                            Wells Fargo Income Oppty EAD NA 8.74 NA 7.8                                                                 Income & Preferred Stock Funds                       Carlyle Tact Pvt Cred:M NA NA NA NS
                                                                 Calamos GloDynInc CHW 10.05 10.48 +4.3           65.1                                                         Nuveen AMT-Fr Mu CI NVG 17.57 17.49 -0.5        4.6
    BlackRock Enh Intl Div BGY 6.97 6.49 -6.9            37.4                                                            WstAstHIF II HIX               NA 7.28 NA 8.2                                                               A3 Alternative Inc          10.04 NA NA 0.7          Carlyle Tact Pvt Cred:N NA NA NA 7.5
                                                                 China CHN                      NA 30.14 NA       61.8                                                         Nuveen Dyn Muni Opp NDMO 16.10 16.67 +3.5       NS
    BlackRock Hlth Sci Tr II BMEZ 29.13 28.30 -2.8                                                                       Western Asset Hi Inc Opp HIO NA 5.17 NA 7.4                                                                 Calamos L/S Eqty and DI CPZ 22.99 20.60 -10.4 37.4   Carlyle Tact Pvt Cred:Y NA NA NA 7.3
                                                         47.7    EV TxAdvGlbDivInc ETG NA 20.71 NA                61.5                                                         Nuveen Enh Muni Val NEV 15.93 16.27 +2.1        4.2
                                                                                                                                                                 Prem12 Mo                                                           Destra Multi-Altrntv;A 12.02 NA NA 8.2               CION Ares Dvsfd Crdt;A NA NA NA 5.5
    BlackRock Hlth Sciences BME 46.59 47.86 +2.7         18.9    EtnVncTxAdvOpp ETO NA 28.89 NA                   48.2                                                         Nuveen Int Dur Mun Term NID 14.75 14.44 -2.1    3.6
                                                                                                                         Fund (SYM)                 NAV Close /Disc Yld                                                              Destra Multi-Altrntv;C 11.45 NA NA 7.4               CION Ares Dvsfd Crdt;C NA NA NA 5.5
    BlackRock Res & Comm BCX 10.08 9.82 -2.6             76.5    FirstTr Dyn Euro Eq Inc FDEU 15.35 13.72 -10.6   45.3                                                         Nuveen Mu Crdt Opps NMCO 15.33 14.91 -2.7       4.9
                                                                                                                                                                                                                                     Destra Multi-Altrntv;I 12.27 NA NA 8.4               CION Ares Dvsfd Crdt;I NA NA NA 5.4
    BlackRock Sci&Tech Tr II BSTZ 39.33 37.74 -4.0       87.2    Gabelli Multimedia GGT 9.39 10.28 +9.5           68.4   Western Asset Hi Yld D O HYI NA 15.48 NA        7.3   Nuv Muni Credit Income NZF 17.15 16.90 -1.5     4.6   Destra Multi-Altrntv;T 11.64 NA NA 7.6               CION Ares Dvsfd Crdt;L NA NA NA 5.4
    BlackRock Sci&Tech Trust BST 52.37 57.74 +10.3       71.1    Highland Global Alloc HGLB 11.41 9.04 -20.8      60.3   Other Domestic Taxable Bond Funds                     NuvMuniHiIncOpp NMZ 14.63 15.04 +2.8            5.0   Variant Altrntv Inc:Inst 27.47 NA NA 9.5             CION Ares Dvsfd Crdt;U NA NA NA 5.4
    BlackRock Utl Inf & Pwr BUI 25.08 26.99 +7.6         37.1    India Fund IFN               23.95 21.77 -9.1    63.8   Apollo Tactical Income AIF NA 15.24 NA          6.4   Nuveen Muni Val NUV 10.76 11.46 +6.5            3.3   Variant Altrntv Inc:Inv 27.47 NA NA 9.2              CION Ares Dvsfd Crdt:U2 NA NA NA 5.4
    CBRE ClrnGlbRlEst IGR 9.28 8.60 -7.3                 57.7    Japan Smaller Cap JOF NA 9.15 NA                 22.0   Ares Dynamic Crdt Alloc ARDC NA 15.80 NA        7.6   Nuveen Quality Muni Inc NAD 16.45 15.68 -4.7    4.5   Convertible Sec's. Funds                             CION Ares Dvsfd Crdt;W NA NA NA 5.4
    CLEARBRIDGEENGYMDSOPP EMO NA 22.13 NA                81.9    Korea KF                       NA 45.36 NA       83.4   BlackRock Mlt-Sctr Inc BIT 18.46 18.87 +2.2     8.0   Nuveen Sel TF NXP 16.50 18.40 +11.5             3.2                                                        CNR Select Strategies 11.57 NA NA 0.0
                                                                                                                                                                                                                                     Calmos Dyn Conv and Inc CCD 30.40 32.82 +8.0 53.7
    ClearBridge MLP & Midstm CEM NA 27.85 NA             64.5    LazardGlbTotRetInc LGI 21.35 20.53 -3.8          60.8   BlackRock Tax Muni Bd BBN 24.60 25.00 +1.6      5.5   Nuveen Sel TF 2 NXQ 15.72 16.69 +6.2            3.1   World Equity Funds                                   First Eagle Crdt Opps A 26.23 NA NA NS
    ChnStrInfr UTF                26.93 29.33 +8.9       39.7    MS ChinaShrFd CAF 26.50 23.64 -10.8              44.0   DoubleLine:Oppor Crdt Fd DBL 19.66 19.61 -0.3   8.6   PIMCO MuniInc PMF              NA 14.75 NA      4.4   ACAP Strategic:A            25.01 NA NA 14.2         First Eagle Crdt Opps I 26.22 NA NA NS
    Cohen&SteersQualInc RQI 15.52 15.43 -0.6             55.3    MS India IIF                 28.55 24.56 -14.0   69.7   EVLmtDurIncm EVV               NA 12.93 NA      9.3   PIMCOMuniIncII PML NA 14.68 NA                  4.7   ACAP Strategic:W            18.50 NA NA 15.1         FS Credit Income;A         NA NA NA 5.3
    Cohen&Steers TotRet RFI 14.71 15.41 +4.8             37.8    New Germany GF               23.20 20.63 -11.1   76.7   Franklin Ltd Dur Income FTF NA 9.19 NA          7.1   Pimco Muni III PMX             NA 12.32 NA      4.4   CalamosGlbTotRet CGO 15.39 16.03 +4.2 58.4           FS Credit Income;I         NA NA NA 5.5
    CohenStrsREITPrefInc RNP 26.24 26.16 -0.3            49.3    Templeton Dragon TDF NA 23.36 NA                 64.7   J Han Investors JHI 18.90 18.58 -1.7            7.5   PioneerHilncAdv MAV 12.37 12.16 -1.7            4.7   CPG Cooper Square IE A NA NA NA NS                   FS Credit Income;T         NA NA NA 5.1
    Columbia Sel Prm Tech Gr STK 32.04 34.77 +8.5        79.9    Templeton Em Mkt EMF NA 19.78 NA                 61.4   MFS Charter MCR               8.63 8.79 +1.9    7.8   PioneerMunHiIcm MHI 13.22 12.74 -3.6            4.6   CPG Cooper Square IE I NA NA NA NS                   FS Credit Income;U         NA NA NA 5.0
    DNP Select Income DNP 9.70 10.38 +7.0                 1.7    Wells Fargo Gl Div Oppty EOD NA 5.74 NA          49.8   Nuveen Taxable Muni Inc NBB 22.60 22.81 +0.9    5.0   Putnam Mgd Inc PMM 8.37 8.44 +0.8               4.6   Primark Priv Eq Inv:I 12.78 NA NA NS                 FS Credit Income;U-2       NA NA NA NS
    Duff&Ph Uti&Infra Inc Fd DPG 14.47 14.88 +2.8        51.8    U.S. Mortgage Bond Funds                                PIMCO Corp & Inc Oppty PTY NA 19.87 NA          8.2   Putnam Muni Opp PMO 14.04 14.04 0.0             4.8   VirtusTotalRetFd ZTR 9.50 10.09 +6.2 21.1            GL Beyond Income          0.49 NA NA NE
    EtnVncEqtyInc EOI               NA 18.10 NA          39.3    BlckRk Income BKT             6.06 6.41 +5.8      6.7   PIMCO Corp & Inc Strat PCN NA 18.45 NA          7.4   RiverNorth Flx Mu Inc II RFMZ NA 20.38 NA       NS                                           Prem12 Mo     KKR CREDIT OPPTY;D NA NA NA NS
    EtnVncEqtyIncoII EOS NA 22.35 NA                     37.0    Invesco HI 2023 Tgt Term IHIT 9.35 9.57 +2.4      6.4   PIMCOHilnco PHK                NA 6.82 NA       8.6   RiverNorth Mgd Dur Mun I RMM NA 20.12 NA        5.5   Fund (SYM)                NAV Close /Disc Yld        KKR CREDIT OPPTY;I         NA NA NA 5.6
    EVRskMnDvsEqInc ETJ NA 11.14 NA                      31.2    Investment Grade Bond Funds                             PIMCO IncmStrFd PFL NA 12.66 NA                 8.9   Western Asset Mgd Muni MMU NA 13.46 NA          4.0   Loan Participation Funds                             KKR CREDIT OPPTY;T NA NA NA NS
    ETnVncTxMgdBuyWrtInc ETB NA 16.22 NA                 30.5    Angel Oak FS Inc Trm FINS 18.93 18.35 -3.1        6.9   PIMCO IncmStrFd II PFN NA 10.75 NA              9.1   Single State Muni Bond                                1WS Credit Income;A2 NA NA NA NS                     KKR CREDIT OPPTY;U NA NA NA NS
    EtnVncTxMgdBuyWrtOpp ETV NA 16.09 NA                 27.9    BlRck Core Bond BHK 15.85 16.18 +2.1              5.3   Putnam Mas Int PIM 4.34 4.24 -2.3               7.5   BlackRock CA Mun BFZ 16.12 14.77 -8.4                 1WS Credit Income;Inst NA NA NA 5.0                  Lord Abbett Cred Opps Fd NA NA NA 5.9
                                                                                                                                                                                                                               3.2
    EvTxMnDvsEqInc ETY NA 13.68 NA                       40.4    BR Credit Alloc Inc BTZ 15.36 15.09 -1.8                Putnam Prem Inc PPT 4.80 4.70 -2.1              8.0                                                         AlphCntrc Prime Merid In 9.85 NA NA 10.3             Lord Abbett Cred Opps Fd NA NA NA 6.5
                                                                                                                   6.8                                                         BR MH CA Qly Fd Inc MUC 15.98 15.74 -1.5        4.2
                                                                                                                         Wells Fargo Multi-Sector ERC NA 12.87 NA        8.7                                                         Axonic Alternative Inc NA NA NA 5.0                  Lord Abbett Crd Op:U       NA NA NA NS
    EtnVncTxMgdGlbB ETW NA 11.11 NA                      45.5    Insight Select Income INSI 21.49 20.77 -3.4       3.8                                                         BR MH NJ Qly MUJ 16.13 15.68 -2.8               4.7
                                                                                                                                                                                                                                     Blackstone/GSO FR EI D NA NA NA 5.3                  Palmer Square Opp Inc 18.91 NA NA 5.3
    EVTxMnGblDvEqInc EXG NA 10.16 NA                     53.9    InvescoBond VBF              20.81 19.99 -3.9     3.5   World Income Funds                                    BR MH NY Qly MHN 15.24 14.48 -5.0               4.3
                                                                                                                                                                                                                                     Blackstone/GSO FR EI I NA NA NA 5.5                  Thrivent Church Ln&Inc:S 10.69 NA NA 2.5
    First Trust Energy Inc G FEN 14.61 14.35 -1.8        37.7    J Han Income JHS             16.05 16.01 -0.2     5.4   Abrdn AP IncFd FAX 4.73 4.31 -8.9               7.7   BR MuniYld CA MYC 16.47 15.27 -7.3              3.4
                                                                                                                                                                                                                                     Blackstone/GSO FR EI T NA NA NA 5.0                  World Income Funds
    First Tr Enhanced Eq FFA 20.31 19.85 -2.3            51.6    MFS Intmdt MIN                3.78 3.70 -2.1      9.0   BrndywnGLB Glb Inc Oppts BWG NA 12.44 NA        7.1   BR MuniYld CA Qly MCA 16.30 15.32 -6.0          4.2
                                                                                                                                                                                                                                     Blackstone/GSO FR EI T-I NA NA NA 5.0                Destra Int&Evt-Dvn Crd:A 28.01 NA NA 2.1
    FirstTrMLPEner&Inc FEI 8.43 7.84 -7.0                37.8    Western Asset Inf-Lk Inc WIA NA 13.99 NA          5.8   EtnVncStDivInc EVG             NA 13.11 NA      6.7   BR MuniYld MI Qly MIY 15.89 15.45 -2.8          4.2
                                                                                                                                                                                                                                     Blackstone/GSO FR EI U NA NA NA 5.0                  Destra Int&Evt-Dvn Crd:I 28.02 NA NA 2.3
    Gabelli Healthcare GRX 15.25 13.32 -12.7             35.7    Western Asset Inf-Lk O&I WIW NA 13.00 NA          3.0   MS EmMktDomDebt EDD 7.01 6.29 -10.3             6.7   BR MuniYld NJ MYJ 16.20 15.74 -2.8              4.8                                                        Destra Int&Evt-Dvn Crd:L 27.98 NA NA 2.0
                                                                                                                                                                                                                                     Blstn Commnty Dev 10.00 NA NA 3.1
    Gab Utility GUT                4.44 7.48 +68.5       24.4    Westn Asst IG Def Opp Tr IGI NA 21.38 NA          3.6   PIMCO Dyn Crd & Mrt Inc PCI NA 22.52 NA         9.0   BR MuniYld NY Qly MYN 14.60 13.96 -4.4          4.2   BNYM Alcntr Glb MS Cr Fd 105.13 NA NA 6.9            Destra Int&Evt-Dvn Crd:T 27.93 NA NA 1.9
    GAMCOGlGold&NatRes GGN 4.25 4.04 -4.9                32.2    Loan Participation Funds                                PIMCO Dynamic Income PDI NA 28.76 NA            9.1   EVCAMuniBd EVM                 NA 11.90 NA      4.1   CLIFFWATER CL FD;I 10.53 NA NA 6.6                   National Muni Bond Funds
    J Han Finl Opptys BTO 39.54 41.69 +5.4               90.8    Apollo Senior Floating AFT NA 15.41 NA            6.2   PIMCO Dynamic Inc Opp PDO NA 21.19 NA           NS    Eaton Vance NY Muni Bd ENX NA 12.67 NA          4.2   CNR Strategic Credit 10.83 NA NA 7.8                 Ecofin Tax-Adv Soc Impct 9.48 NA NA 4.3
    Neuberger Brmn MLP & EI NML 5.95 4.80 -19.3          61.6    BR Debt Strategy DSU 11.68 11.23 -3.9             7.2   PIMCO Income Opportunity PKO NA 26.72 NA        8.4   InvCaValMuIncTr VCV 13.77 13.66 -0.8            4.3   FedProj&TrFinanceTendr 9.96 NA NA 2.6                PIMCO Flex Mun Inc;A-3 NA NA NA 2.1
    NuvDow30DynOverwrite DIAX 18.24 17.10 -6.3           34.5    BR F/R Inc Str FRA           14.00 12.95 -7.5     6.8   PIMCO Stratg Inc RCS NA 7.75 NA                 8.2   InvPAValMuIncTr VPV 14.40 13.28 -7.8            4.5   Schrdrs Opp Inc;A           26.53 NA NA 2.5          PIMCO Flex Mun Inc:A1 NA NA NA NS
    NuvCorEqAlpha JCE 16.81 16.33 -2.9                   42.1    BlackRock Floatng Rt Inc BGT 13.58 12.62 -7.1     6.7   Templeton Em Inc TEI NA 7.94 NA                 2.7   InvTrInvGrNYMu VTN 14.60 13.47 -7.7             4.1   Schrdrs Opp Inc;A2            NA NA NA 0.8           PIMCO Flex Mun Inc;A2 NA NA NA NS
    NuveenNasdaq100DynOv QQQX 27.76 28.49 +2.6           28.8    Blackstone Strat Cr BGB NA 13.65 NA               7.4   Templtn Glbl Inc GIM           NA 5.61 NA       1.5   Nuveen CA AMT-F Qual MI NKX 16.91 16.11 -4.7    4.1   Schrdrs Opp Inc;I           26.52 NA NA 2.7          PIMCO Flex Mun Inc;Inst NA NA NA 2.8



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       <c; f"> 6b@#T>Sf Xk N.PMl@>@ bS@>. f"> `flNbUXflPS k"PbU@ E> >Sf>.>@ @lkTlkklS# f"> 2lfl#XflPS Llf" N.>Wb@lD>j <d; fP                                                     <0B00 E8A8D U@>Q7@ g&@ HQSQ7XUi@ ^X7X 2K Oii#5 Xg g&@ Oc@7@gg
       XLX.@ 2>X@ +UXlSfl))/k CPbSk>U XffP.S>Jk/ )>>k XS@ >KN>Sk>k Pbf P) f"> `>ffU>T>Sf 3bS@ <Xk @>(S>@ lS f"> -PflD> P)                                                        0F4#Si@_ %#7!5@S [S#g@B ^gXg@5 CQd7g&Qd5@D ePR ^Qdg&                                  8S_ QU"@Fg#QS5 gQ g&@ N7QNQ5@B ^@ggi@T@SgD g&@
       +.PNPk>@ `>ffU>T>Sf P) CUXkk 8DflPS <5-PflD>1;A L"lD" lk @lkDbkk>@ E>UPL; XS@A l) kPA lS L"Xf XTPbSfj XS@ <$; f"> +UXS                                                    %@X7UQ7S ^g7@@gD C&#FX'QD G2 .I.I(D CQd7g7QQT P(IfD gQ                         N7QNQ5@B +iXS Q> 8iiQFXg#QSD XSBhQ7 2@XB CQdS5@i95
       P) 8UUPDXflPS k"PbU@ E> XNN.PM>@ EJ f"> CPb.f Xk )Xl.A .>XkPSXEU> XS@ X@>7bXf>9                                                                                           B@g@7T#S@E M#L a&@g&@7 g&@ N7QNQ5@B ^@ggi@T@Sg 5&QdiB U@                       TQg#QS >Q7 XggQ7S@_59 >@@5 XSB i#g#'Xg#QS @`N@S5@5D Td5g
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           ^"> CP.PSXMl.bk <C,\G%!OQ; lk X &bl@ klfbXflPS f"Xf D.>Xf>k f"> NPkklElUlfJ f"Xf f"> CPb.f TXJ @>Dl@> fP DPS@bDf f">                                                  8Fg#QS 5&QdiB U@ B#5T#55@B a#g& N7@"dB#F@ X'X#S5g %@>@SBXSg5D                  %@>@SBXSg59 CQdS5@i 5dF& g&Xg g&@_ X7@ 3.4.'=.0 #" %:-.3 -(:#
       `>ffU>T>Sf H>X.lS# EJ Ml@>P P. f>U>N"PSlD DPS)>.>SD>A P. Pf">.Llk> XUUPL CUXkk 0>TE>.k fP XNN>X. Xf f"> ">X.lS# EJ                                                        XSB g&@ 7@i@X5@5 5N@F#=@B XSB B@5F7#U@B #S g&@ ^g#NdiXg#QS                     *)%< +82 +8+!D #S XFFQ7BXSF@ a#g& g&@ #S5g7dFg#QS5 5@g >Q7g&
       N"PS> P. Ml@>P DPS)>.>SD>A Llf"Pbf )b.f">. L.lff>S SPflD> fP f"> CUXkk9 GS P.@>. fP @>f>.TlS> L">f">. f"> @Xf> XS@ flT> P)                                                MXSB #S g&@ -Qg#F@ B@5F7#U@B U@iQaL 5&QdiB U@ @Sg@7@B1                         #S g&@ -Qg#F@K
       f"> `>ffU>T>Sf H>X.lS# "XM> D"XS#>@A P. L">f">. CUXkk 0>TE>.k Tbkf P. TXJ NX.flDlNXf> EJ N"PS> P. Ml@>P DPS)>.>SD>A                                                       M###L a&@g&@7 g&@ ^@ggi@T@Sg CiX55 5&QdiB U@ F@7g#=@B >Q7                             ['Q,WQ =! #!L (!#L,(L L.Q (!JYL- L.Q
       lf lk lTNP.fXSf f"Xf JPb TPSlfP. f"> CPb.f/k @PDV>f XS@ f"> `>ffU>T>Sf L>Eklf>A LLL9^XEU>Xb`>Db.lfl>k2lfl#XflPS9DPTA                                                      Nd7NQ5@5 Q> @>>@FgdXg#S' g&@ ^@ggi@T@Sg1 M#cL a&@g&@7 g&@                      ('QY*SW !22K(Q- =Q2Q#=,#LW- !Y =Q2Q#=,#LWS
       E>)P.> TXVlS# XSJ NUXSk fP Xff>S@ f"> `>ffU>T>Sf H>X.lS#9 8SJ bN@Xf>k .>#X.@lS# f"> `>ffU>T>Sf H>X.lS#A lSDUb@lS# XSJ                                                     N7QNQ5@B +iXS Q> 8iiQFXg#QS 5&QdiB U@ XNN7Qc@B X5 >X#7 XSB                     (!J#WQ' YQ/,Y=K#/ L.KW #!LK(Q8 8ii <d@5g#QS5
       D"XS#>k fP f"> @Xf> P. flT> P) f"> ">X.lS# P. bN@Xf>k .>#X.@lS# lS!N>.kPSA f>U>N"PSlD P. Ml@>P DPS)>.>SD> XNN>X.XSD>k                                                     7@X5QSXUi@1 XSB McL a&@g&@7 2@XB CQdS5@i95 TQg#QS >Q7                          XUQdg g&#5 SQg#F@D g&@ ^@ggi@T@SgD Q7 _Qd7 @i#'#U#i#g_ gQ
       Xf f"> ">X.lS#A LlUU XUkP E> NPkf>@ fP f"> `>ffU>T>Sf L>Eklf>A LLL9^XEU>Xb`>Db.lfl>k2lfl#XflPS9DPT9 8UkPA l) f"> CPb.f                                                    XggQ7S@_59 >@@5 XSB i#g#'Xg#QS @`N@S5@5 5&QdiB U@ XNN7Qc@BK                    NX7g#F#NXg@ #S g&@ ^@ggi@T@Sg 5&QdiB U@ B#7@Fg@B gQ 2@XB
       .>7bl.>k P. XUUPLk CUXkk 0>TE>.k fP NX.flDlNXf> lS f"> `>ffU>T>Sf H>X.lS# EJ f>U>N"PS> P. Ml@>P DPS)>.>SD>A f"> N"PS>                                                            K& 1>6 ER) E A)AD)R >& N") W)NNX)A)@N (XEPP-                            CQdS5@i Q7 g&@ CiX#T5 8BT#S#5g7XgQ7K
       SbTE>. )P. XDD>kklS# f"> f>U>N"PSlD DPS)>.>SD> P. f"> L>Eklf> )P. XDD>kklS# f"> Ml@>P DPS)>.>SD> LlUU E> NPkf>@ fP f">                                                    1>6R R\$"NP 4\XX D) E&&)CN)+ D1 N") ;)@+\@$ ,CN\>@ E@+                                *@<d@5g5 >Q7 g&@ -Qg#F@ XSB CiX#T 3Q7T 5&QdiB U@
       `>ffU>T>Sf L>Eklf>A LLL9^XEU>Xb`>Db.lfl>k2lfl#XflPS9DPT9                                                                                                                  N") W)NNX)A)@N- E@+ 1>6 AE1 D) )@N\NX)+ N> P"ER) \@ N")                        TXB@ gQ g&@ CiX#T5 8BT#S#5g7XgQ7E
                                                                                                                                                                                 W)NNX)A)@N 26@+8
         G3 Y,] +]aCH8`R% ,a 8C*]GaR% ^8_2R8] C28`` 8 C,00,- `^,C4 3a,0 3R_a]8aY 'A cIO'                                                                                                                                                                                 "'/*%. -2*%.2'*#12'! -2&0 )%&(.#*#%, +#*#$'*#12
       ^Ha,]eH 3R_a]8aY $A cIOhA G-C2]`G\RA Y,]a aGeH^` 8aR 833RC^R% _Y ^HR `R^^2R0R-^ ,3                                                                                               G> _Qd &Xc@ SQg _@g 7@F@#c@B g&@ B@gX#i@B -Qg#F@ Q>                             FhQ ON#< CiX55 8Fg#QS W CiX#T5 ^Qidg#QS5D GSFK
       ^HG` 2G^Ge8^G,-9                                                                                                                                                          MGL +@SB@SF_ Q> CiX55 8Fg#QS XSB +7QNQ5@B ^@ggi@T@Sg1                                                     +K,K \Q` ))R(
                                                                                                                                                                                 MGGL ^@ggi@T@Sg H@X7#S'1 XSB MGGGL 0Qg#QS >Q7 8ggQ7S@_59                                           +Q7giXSBD ,* R/ee?$))R(
          ^P k"X.> lS f"> @lkf.lEbflPS P) f"> `>ffU>T>Sf 3bS@A JPb Tbkf >kfXEUlk" JPb. .l#"fk EJ kbETlfflS# X +.PP) P) CUXlT                                                     3@@5 XSB 2#g#'Xg#QS O`N@S5@5 M;-Qg#F@:L XSB CiX#T 3Q7TD                                                  P$?))$.)($I?/f
       XS@ a>U>Xk> )P.T EJ TXlU 458LI:<MR)+ 98 P<I)M IT<9 ,G"GLI H$- HFH73 P. >U>Df.PSlDXUUJ 498 P<I)M IT<9 ,G"GLI H$-                                                           _Qd TX_ QUgX#S FQN#@5 Q> g&@5@ BQFdT@Sg5 U_ FQSgXFg#S' g&@                                  #S>QV\X`g@7^@Fd7#g#@52#g#'Xg#QSKFQT
       HFH739 YPb. )XlUb.> fP kbETlf JPb. +.PP) P) CUXlT XS@ a>U>Xk> EJ 8b#bkf c$A cIcO LlUU kbEW>Df JPb. DUXlT fP .>W>DflPS                                                     CiX#T5 8BT#S#5g7XgQ7 Xg "'/*%. -2*%.2'*#12'! -2&0 )%&(.#*#%,                                 aaaK\X`g@7^@Fd7#g#@52#g#'Xg#QSKFQT
       XS@ N.>DUb@> JPb ).PT .>D>lMlS# XSJ .>DPM>.J lS DPSS>DflPS Llf" f"> `>ffU>T>Sf P) f"lk 2lfl#XflPS9 G) JPb Nb.D"Xk>@                                                       +#*#$'*#12D FhQ ON#< CiX55 8Fg#QS W CiX#T5 ^Qidg#QS5D GSFKD                    8ii Qg&@7 #S<d#7#@5 5&QdiB U@ TXB@ gQ 2@XB CQdS5@iE
       P. XD7bl.>@ ^XEU>Xb CUXkk 8 DPTTPS kfPDV ).PT 3>E.bX.J 'A cIO' f".Pb#" 3>E.bX.J $A cIOhA lSDUbklM>A XS@ @l@ SPf                                                           +K,K \Q` ))R(D +Q7giXSBD ,* R/ee?$))R(D P$?))$.)($I?/fD
       N.>MlPbkUJ .>7b>kf >KDUbklPS ).PT f"> CUXkk lS .>kNPSk> fP f"> -PflD> P) +>S@>SDJ P) CUXkk 8DflPS N.PMl@>@ lS 6bS>                                                        #S>QV\X`g@7^@Fd7#g#@52#g#'Xg#QSKFQTK CQN#@5 Q> g&@ -Qg#F@                                            6XT@5 8K HX77QBD O5<K
       cIcIA JPb LlUU E> EPbS@ EJ f"> `>ffU>T>Sf XS@ XSJ Wb@#T>Sf XS@ .>U>Xk> >Sf>.>@ lS f"> 2lfl#XflPSA lSDUb@lS#A Ebf SPf                                                      XSB CiX#T 3Q7T FXS Xi5Q U@ BQaSiQXB@B >7QT g&@ a@U5#g@                                   \@7S5g@#S 2#gQa#gJ \@7'@7 W b7Q55TXSS 22+
       UlTlf>@ fPA f"> 6b@#T>SfA L">f">. P. SPf JPb kbETlf X +.PP) P) CUXlT XS@ a>U>Xk>9                                                                                         >Q7 g&@ ^@ggi@T@SgD aaaK\X`g@7^@Fd7#g#@52#g#'Xg#QSKFQTD                                          Pe)P 8c@Sd@ Q> g&@ 8T@7#FX5
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          G) JPb "XM> SPf .>D>lM>@ X DPNJ P) f"> -PflD>A L"lD" TP.> DPTNU>f>UJ @>kD.lE>k f"> `>ffU>T>Sf XS@ JPb. .l#"fk                                                          aaaK!gTFKFQTK                                                                                            P$?II$f?I$?(R.
       f">.>bS@>. <lSDUb@lS# JPb. .l#"f fP PEW>Df fP f"> `>ffU>T>Sf;A XS@ X +.PP) P) CUXlT XS@ a>U>Xk>A JPb TXJ PEfXlS f">k>                                                                                                                                                        5@ggi@T@Sg5VUiU'iXaKFQT
                                                                                                                                                                                        G> _Qd X7@ X T@TU@7 Q> g&@ ^@ggi@T@Sg CiX55D #S Q7B@7
       @PDbT>SfkA Xk L>UU Xk X DPNJ P) f"> `flNbUXflPS <L"lD"A XTPS# Pf">. f"lS#kA DPSfXlSk @>(SlflPSk )P. f"> @>(S>@ f>.Tk                                                      gQ U@ @i#'#Ui@ gQ 7@F@#c@ X NX_T@Sg dSB@7 g&@ N7QNQ5@B                                                ^&X7XS -#7TdiD O5<K
       bk>@ lS f"lk `bTTX.J -PflD>; XS@ Pf">. `>ffU>T>Sf @PDbT>SfkA PSUlS> Xf LLL9^XEU>Xb`>Db.lfl>k2lfl#XflPS9DPTA P. EJ                                                         ^@ggi@T@SgD _Qd Td5g 5dUT#g X CiX#T 3Q7T ;"1-$:3&.0 9',                                     4@55i@7 ]QNXJ 0@igJ@7 W C&@F!D 22+
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       _Y 2R8% C,]-`R2 8-% %R3R-%8-^`/ C,]-`R2 B> ,A0ADC H$- HFH7 G- ^HR 08--Ra 8-% 3,a0
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